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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ____________________________________
  CHARLOTTE FREEMAN, et al.,           :
                                       :   Case No. 14-CV-6601 (DLI)(CLP)
                    Plaintiffs,        :
                                       :
        -against-                      :
                                       :
  HSBC HOLDINGS PLC, et al.,           :
                                       :
                    Defendants.        :
  ____________________________________:




        PLAINTIFFS’ OMNIBUS MEMORANDUM OF LAW IN RESPONSE TO
      DEFENDANTS’ OBJECTIONS TO THE REPORT AND RECOMMENDATION
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         Pursuant to Rule 72(b)(2) and this Court’s August 6, 2018 Order, Plaintiffs respectfully

  respond to Defendants’ objections to Judge Pollak’s Report and Recommendation (“R&R”).

                                      STANDARD OF REVIEW

         The Court “must determine de novo any part of the magistrate judge’s disposition that has

  been properly objected to.” Fed. R. Civ. P. 72(b)(3) (emphasis added). By contrast, any other

  portions are reviewed for clear error only. Improper objections include resubmission of arguments

  the magistrate judge has already reviewed. “[I]f a party ‘simply relitigates his original arguments,

  the Court reviews the Report and Recommendation only for clear error.’” Riley v. Rivers, No. 15-

  cv-5022 (DLI) (RLM), 2017 WL 1093193, at *2 (E.D.N.Y. Mar. 23, 2017) (Irizarry, J.), aff’d, 710

  F. App’x 503 (2d Cir. 2018) (citations omitted). See also Faroque v. Park W. Exec. Servs., No. 15-

  cv-6868(DLI)(CLP), 2017 WL 1214482, at *2 (E.D.N.Y. Mar. 31, 2017) (Irizarry, J.) (“[A]

  rehashing of the same arguments set forth in the original papers ... would reduce the magistrate’s

  work to something akin to a meaningless dress rehearsal.”) (citation omitted); Union Labor Life

  Ins. Co. v. Olsten Corp. Health & Welfare Benefit Plan, 617 F. Supp. 2d 131, 134 (E.D.N.Y. 2008)

  (Irizarry, J.) (“[W]here a party’s objections are simply a regurgitation of the arguments [it] made

  to the magistrate judge, a de novo review is unwarranted. Instead, the report and recommendation

  is reviewed by the district judge for clear error.”) (citation omitted).

         Improper objections also include new arguments that could have been raised before: “In

  this district and circuit, it is established law that a district judge will not consider new arguments

  raised in objections to a magistrate judge’s report and recommendation that could have been raised

  before the magistrate, but were not.” Jericho Grp. Ltd. v. Mid-Town Dev. Ltd. P’ship, No. 14-cv-

  2329(DLI)(VMS), 2017 WL 4221068, at *3 (E.D.N.Y. Sept. 22, 2017) (Irizarry, J.) (quoting Sci.

  Components Corp. v. Sirenza Microdevices, Inc., No. 03-CV-1851(NGG)(RML), 2006 WL

  2524187, at *2 (E.D.N.Y. Aug. 30, 2006)). “Indeed, ‘[f]iling objections to a report and
                                                     1
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  recommendation is not the tool for mopping up any inadvertent omissions.’” Id. (quoting Gutman

  v. Klein, No. 03-CV-1570(BMC)(RML), 2010 WL 4916722, at *5 (E.D.N.Y. Nov. 24, 2010)). See

  also Lombardi v. Choices Women's Med. Ctr., Inc., No. 15-cv-05542(DLI)(CLP), 2017 WL

  1102678, at *1 (E.D.N.Y. Mar. 23, 2017) (Irizarry, J., adopting R&R from Judge Pollak) (“A court

  will not ‘ordinarily ... consider arguments, case law and/or evidentiary material which could have

  been, but [were] not, presented to the magistrate judge in the first instance.’”) (quoting Santiago

  v. N.Y.C., No. 15-cv-517 (NGG)(RER), 2016 WL 5395837, at *1 (E.D.N.Y. Sept. 26, 2016)).

          In objecting to Judge Pollak’s considered 135-page R&R, Defendants largely rehash

  arguments they made in their motions to dismiss. They also make new arguments they could have

  raised below, and, on two occasions, they reverse their prior positions. As a result, Defendants’

  Objections are not entitled to de novo review. Because Judge Pollak’s recommendations and

  findings were not erroneous—much less clearly erroneous—the Court should adopt them in their

  entirety.

                 PLAINTIFFS’ RESPONSES TO DEFENDANTS’ OBJECTIONS

  I.      THE R&R CORRECTLY ADDRESSED AND DISTINGUISHED COMMON LAW
          SECONDARY LIABILITY, PRIMARY LIABILITY WITH THE CHARACTER
          OF SECONDARY LIABILITY, AND JASTA LIABILITY FOR CONSPIRACY.

          Throughout their Objections, Defendants attempt to relitigate arguments from their prior

  briefing, erroneously arguing that there is no “primary liability with the character of secondary

  liability” under § 2333(a) of the Anti-Terrorism Act (“ATA”) in this Circuit. Moving Defs.

  Objections, ECF No. 174 (“Objs.”), at 15 n.9 (“such liability was not viable pre-JASTA . . . .”);

  23 & n.14 (such liability is “not recognized in this Circuit” and “not grounded in the law”). 1 They

  further contend that because Plaintiffs do not allege that Defendants themselves detonated



  1
          Defendants make this argument several times, but wisely relegate them mostly to footnotes.

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  explosives or kidnapped or killed anyone, Plaintiffs’ claims are predicated on secondary liability

  and can therefore be brought solely under § 2333(d), recently added to the ATA through the Justice

  Against Sponsors of Terrorism Act, Pub. L. 114-222 (2016) (“JASTA”). From these two false

  premises Defendants conclude that Judge Pollak erroneously recognized pre-JASTA secondary

  liability claims for conspiracy and improperly applied JASTA to the allegations of the Second

  Amended Complaint, ECF No. 115 (“Complaint” or “SAC”), thereby conflating all three theories

  of liability to find error where Judge Pollak made none. As shown below, Judge Pollak correctly

  applied the governing ATA law to Plaintiffs’ allegations and found them sufficient to state a claim.

     A.          Plaintiffs Asserted No Common Law Secondary Liability Claims.

          In Boim v. Holy Land Found. for Relief & Dev. (“Boim III”), 549 F.3d 685 (7th Cir. 2008)

  (en banc), the Seventh Circuit held that because the ATA before JASTA was silent about common

  law secondary liability, no such liability was available. Id. at 688-89 (citing Central Bank of

  Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164 (1994)). In this Circuit,

  Rothstein and Linde adopted Boim III’s holding as to such common law secondary liability claims.

  See Rothstein v. UBS AG, 708 F.3d 82, 98 (2d Cir. 2013) (citing Boim III, 549 F.3d at 689); Linde

  v Arab Bank PLC, 882 F.3d 314, 319-320 (2d Cir. 2018) (same, citing Rothstein). Judge Pollak

  duly noted this law, R&R at 30-31, but, because Plaintiffs did not plead any common law

  secondary liability claims, it has no relevance here.

     B. Judge Pollak Correctly Held That Plaintiffs Pled Primary Liability Claims for
        Conspiracy.

          “Primary liability with the character of secondary liability” distills a holding of the Seventh

  Circuit’s decision in Boim III: “By [a] chain of incorporations by reference (section 2333(a) to

  section 2331(1) to section 2339A to section 2332),” the provision of material support to terrorists

  “may violate section 2333.” 549 F.3d at 690. Therefore, “[p]rimary liability in the form of material


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  support to terrorism has the character of secondary liability.” Id. at 691. Material support crimes

  are inherently secondary – they consist of providing material support to another primary tortfeasor

  who directly injures the plaintiff. Boim III therefore held that “there is no impropriety” in using

  “conspiracy” or “aiding and abetting” concepts to analyze such primary liability. 549 F.3d at 691.

         Contrary to Defendants’ argument, this Circuit has adopted the chain of incorporation

  theory. Thus, Judge Pollak correctly explained that the Second Circuit has held “that ‘through this

  complex series of statutory incorporation . . . a defendant may be liable for civil remedies under

  2333(a) for providing material support to an organization that solicits funds for an FTO,” R&R

  at 20 (quoting Weiss v. Nat’l Westminster Bank PLC, 768 F.3d 202, 209 (2d Cir. 2014)); id.

  (explaining that Weiss holds that § 2333(a) liability may attach “even if that support is not provided

  directly to the FTO itself”). See also Strauss v. Crédit Lyonnais, S.A., 925 F. Supp. 2d 414, 427

  (E.D.N.Y. 2013), on recons. in part, 2017 WL 4480755 (E.D.N.Y. Sept. 30, 2017) (relying on the

  Boim III theory of statutory secondary liability); Rothstein, 708 F.3d at 82 at 85 (upholding

  plaintiffs’ standing to bring a primary liability claim under § 2333(a) for a bank’s provision of

  currency to a State Sponsor of Terrorism, but requiring them to plead proximate cause).

         As Judge Pollak noted, R&R at 32-34, other courts have come to the same conclusion as

  to conspiracy, specifically. “By virtue of the statutory incorporation of Sections 2339A-C into the

  definition of ‘international terrorism’ in Section 2331, a person who conspires to violate Sections

  2339A-C is a primary violator of Section 2333(a),” Hussein v. Dahabshil Transfer Serv. Ltd., 230

  F. Supp. 3d 167, 175 (S.D.N.Y. 2017), aff’d, 705 F. App’x 40 (2d Cir. 2017), which is true also of

  conspiracies to violate § 2332. See Owens v. BNP Paribas S.A., 235 F. Supp. 3d 85, 91–92 (D.D.C.

  2017), aff’d, 897 F.3d 266 (D.C. Cir. 2018) (noting that a conspiracy to provide material support




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  for terrorism qualifies as “primary liability with the character of secondary liability” under Boim

  III). 2

            Thus, Defendants conflate common law and statutory theories of secondary liability in

  arguing that “the Second Circuit held in Linde that there was no secondary liability under the ATA

  prior to the enactment of JASTA,” and that “to the extent Boim III can be read to suggest otherwise,

  it is not good law in this Circuit.” Objs. at 16 (citing Linde, 882 F.3d at 319-20). As shown above

  and explained by Judge Pollak, both the 2018 Second Circuit and 2013 District Court Linde

  decisions Defendants have cited only held that common law secondary liability was unavailable,

  and, far from rejecting Boim III, rely on that case to do so. See Linde, 882 F.3d at 319-20; Linde,

  944 F. Supp. 2d 215, 216-17 (E.D.N.Y. 2013), (dismissing common law secondary liability claims

  for conspiracy that plaintiffs filed before Boim III was decided).

            In fact, in vacating and remanding the Linde judgment predicated on those plaintiffs’

  primary liability claims, the Second Circuit held that a jury may find that a bank’s provision of

  material support is itself an act of international terrorism if it finds that all of § 2331(1)’s the

  definitional elements are met. See id. at 327 (whether “financial transactions . . . were violent or

  life-endangering acts that appeared intended to intimidate or coerce civilians or to influence or

  affect governments,” or could be called “routine,” should not be decided as a matter of law but

  “raises questions of fact for a jury to decide”). Rejecting Defendants’ repeated misreading of Linde

  as foreclosing primary liability with the character of secondary liability, Judge Pollak correctly

  noted that Linde “did not hold that banks could never be held primarily liable for providing material

  support. Rather, the court made it clear that this was a question of fact, and the jury needed to be




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            The parties briefed both of these cases in notices of new authority to the Court. See ECF Nos. 135-37.


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  instructed on and find proof of each separate element of 2331(1).” R&R at 30 (citing Linde, at 882

  F.3d at 326).

         In short, Judge Pollak correctly recognized the difference between claims of common law

  secondary liability, which are not available claims and not pleaded here, and claims of primary

  liability with the character of conspiracy which are available and well-pled here. Seeing through

  Defendants’ conflation, she did not err (much less clearly err, the standard of review applicable

  here) in finding such primary liability claims still viable in this Circuit or in applying their

  elements. See supra at 3-4 (citing cases).

     C. JASTA Conspiracy.

         Finally, in refusing to recognize primary liability with the character of secondary liability,

  Defendants conflate it with conspiracy liability under JASTA. Judge Pollak recognized that the

  allegations of Plaintiffs’ pre-JASTA Complaint plausibly supported “not only” their claims for

  primary liability with the character of conspiracy, but also JASTA § 2333(d)(2) liability for

  conspiracy. R&R at 30. JASTA provides plaintiffs “with the broadest possible basis” for relief by

  “recogniz[ing] the substantive causes of action[s] for aiding and abetting and conspiracy liability,”

  which it does by codifying secondary liability for acts of international terrorism planned,

  authorized, or committed by foreign terrorist organizations. JASTA §§ 2(b), 2(a)(5). Furthermore,

  it expressly identifies Halberstam as the proper legal framework for “how such liability should

  function in the context of chapter 113B of Title 18 . . . .” JASTA, §§ 2(a)(4), (5). Judge Pollak

  carefully and separately identified this JASTA liability theory, R&R at 30 et seq., and thoroughly

  considered the proper Halberstam legal framework – the same framework which Boim III cited




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  for the principles that inform primary liability with the characteristics of aiding and abetting or

  conspiracy. 549 F.3d at 691 (citing Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983)). 3

           Although Defendants’ Objections in places appear to argue that Plaintiffs can now rely

  only on a JASTA conspiracy theory of liability, the R&R also correctly concluded that Plaintiffs

  were entitled to rely on “either theory” of liability – primary or JASTA liability. R&R at 49 n.40.

  Accord Linde, 882 F.3d at 328 (after finding that charging errors on claim of primary liability

  required vacatur and remand, asserting also that “plaintiffs are entitled to the benefits of JASTA’s

  expansion of ATA liability to aiders and abettors on this appeal” and that “the possibility of

  liability on [JASTA aiding and abetting theory] would have to be pursued at a retrial on remand”).

  II.      PLAINTIFFS’ RESPONSES TO MOVING DEFENDANTS’ OBJECTIONS

  Objection 1: Defendants Assert That “The R&R Misapplied the First Threshold
  Requirement in Section 2333(d)(2) that the Act of International Terrorism Must Be
  ‘Committed, Planned, or Authorized’ by an FTO (R&R §§ IV.A-B, V.B.1-4).” Objs. at 8.

  Standard of Review: Clearly erroneous. (Previously argued in Moving Defendants’ Joint Reply
  Mem. in Supp. of Mot. to Dismiss, ECF No. 126 (“Joint Reply Mem.”), at 8-9.)

  Judge Pollak’s Finding: “The Second Amended Complaint pleads numerous allegations showing
  that an FTO (Hezbollah) committed, planned, or authorized the attacks at issue; and that Hezbollah
  established, trained and supplied other terror organizations on behalf of Iran and the IRGC with
  funding and training, ordering and authorizing these other organizations to commit attacks on
  Americans.” R&R at 56 n.47 (citing the SAC).

           Judge Pollak correctly assessed Plaintiffs’ allegations as to the first threshold requirement

  set out in § 2333(d)(2). Section 2333(d)(2) states:

           In an action under subsection (a) for an injury arising from an act of international
           terrorism committed, planned, or authorized by an organization that had been
           designated as a foreign terrorist organization under section 219 of the Immigration

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           Congress not only expressly instructed that Halberstam provides the proper framework for both JASTA
  conspiracy liability, but Boim III also unsurprisingly relied upon Halberstam in assessing primary liability with the
  character of conspiracy under the ATA because the opinion has “been widely recognized as the leading case regarding
  Federal civil aiding and abetting and conspiracy liability, including by the Supreme Court . . . .” JASTA § 2(a)(5)
  (referencing Central Bank of Denver v. First Interstate Bank of Denver, N.A., 511 U.S. 164, 181 (1994) (which
  described it with approval as a “comprehensive opinion on the subject”).

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          and Nationality Act (8 U.S.C. 1189), as of the date on which such act of
          international terrorism was committed, planned, or authorized, liability may be
          asserted as to any person who aids and abets, by knowingly providing substantial
          assistance, or who conspires with the person who committed such an act of
          international terrorism.
          Judge Pollak credited Plaintiffs’ allegations that “an FTO (Hezbollah) committed, planned,

  or authorized the attacks at issue,” “in conjunction with a State Sponsor of Terrorism and its

  agents.” R&R at 56 n.47. Further, Judge Pollak found that Plaintiffs plausibly alleged “that

  Hezbollah established, trained and supplied other terror organizations on behalf of Iran and the

  IRGC with funding and training, ordering and authorizing these other organizations to commit

  attacks on Americans.” Id. (emphasis added). In their Objections, Defendants simply ignore these

  findings which were based on multiple detailed allegations in the Complaint, themselves based on,

  and usually paraphrasing or quoting, U.S. government findings that FTO Hezbollah was Iran’s

  terror proxy in Iraq which acted in concert with Iranian agent IRGC in funding, arming, training,

  and recruiting local terror organizations, and orchestrating their attacks on American servicemen. 4

          Finally, Judge Pollak rejected Defendants’ argument, now rehashed here as their first

  objection, that Plaintiffs were required to identify the specific terrorists who “detonated [each]

  Iranian-manufactured weapon.” R&R at 127 n.83. Instead, she credited Plaintiffs’ argument that

  these emplacers and trigger-pullers, some of whom “may remain unknown,” did not work alone,

  but instead were part of attacks that were committed, planned, and authorized by Hezbollah, Iran,

  and the IRGC. Judge Pollak noted that:


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            See, e.g., SAC ¶¶ 247-48 (describing Hezbollah operations in Iraq on Iran’s behalf), 255 (“[U.S. Army]
  General Bergner added, ‘[t]he Iranian Qods Force is using Lebanese Hezbollah essentially as a proxy, as a surrogate
  in Iraq’”), 266 (U.S. State Department: “The [IRGC], along with Lebanese Hezbollah, implemented training programs
  for Iraqi militants in the construction and use of sophisticated IED technology.”), 270 (General Bergner: “It shows
  how Iranian operatives are using Lebanese surrogates to create Hezbollah-like capabilities” in Iraq.), 278 (State
  Department: “The IRGC-QF . . . in concert with Lebanese Hezbollah, provided training outside of Iraq as well as
  advisors inside Iraq”), 311 (Treasury Department: “Kata’ib Hizballah was funded by the IRGC-Qods Force and
  received weapons training and support from Lebanon-based Hizballah.”).


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           plaintiffs have alleged that not only were Hezbollah and IRGC-QF designated as
           terrorists for providing “training, funding, and guid[ing] select groups of Iraqi Shi’a
           militants who target and kill Coalition forces. . .”, but the Second Amended
           Complaint clearly alleges that the attacks were all orchestrated by U.S. designated
           terrorist organizations, including Hezbollah, the [Specially Designated Global
           Terrorist] IRGC-QF and their proxies, such as FTO Kata’ib Hezbollah.

  R&R at 126. 5 See, e.g., SAC ¶ 38 (quoting U.S. Army General Casey statement that Iran is “using

  surrogates to conduct terrorist operations both against us and against the Iraqi people.”).

           Defendants attempt to deflect from this clearly supported allegation by arguing that Judge

  Pollak improperly substituted “purported aliases of FTOs and non-FTOs [that] ‘solicited funds or

  otherwise supported FTOs” for the FTO that Plaintiffs must allege “committed, planned, or

  authorized” the attacks at issue. Objs. at 9-10. In reality, Judge Pollak’s discussion of alter egos

  came in her analysis of Plaintiffs’ allegations showing that they conspired with “the person who

  committed” the attacks at issue—the second JASTA element at issue here. This element is the

  subject of Defendants’ second objection, and Plaintiffs therefore discuss it in the following

  Response.

           In sum, Defendants attempt to relitigate their argument that Plaintiffs did not allege that an

  FTO “committed, planned, or authorized” from their prior briefs. They now add for the first time


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            In fact, more complete information showing Hezbollah’s role in every Iranian-backed terrorist attack against
  U.S. forces in Iraq is accumulating even now. In a D.C. district court decision finding Iran liable for directing
  Hezbollah to commit one of the attacks at issue here, the court made extensive findings on Hezbollah’s role in these
  Iranian-backed attacks. Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 59-64 (D.D.C. 2018). Generally, the
  Fritz court found that “Hezbollah envisions itself as the sharp end of the spear[,] going where Iran tells it to go in
  defense of.... Shia [Muslims] around the world,” and concluded that, “[c]onsistent with numerous other decisions from
  this Court, . . . Hezbollah is an Iranian proxy.” Id. Specifically, the Fritz court found that: (1) “[a]t the behest of Iran,
  Hezbollah created a unit whose sole purpose was to train Iraqi Shia militants, including A[sa’ib] A[hl] [al-]H[aq], to
  carry out attacks in Iraq directed at U.S. troops and others;” (2) “[w]ith Hezbollah's assistance, Iran provided training
  at every level of the [Iraqi] militant organizations that received assistance, from foot soldier to leadership;” and (3)
  that the Hezbollah unit was “created to support the training, arming, funding, and, in some cases, direction of the
  militia extremists by the [IRGC-QF].” Id. (internal quotation marks and citations omitted). Further, U.S. Central
  Command recently released notes from the U.S. military’s interrogation of AAH leader Qais Khazali, which outline
  in detail Hezbollah’s role in planning, authorizing, and committing attacks such as those at issue here. See Michael R.
  Gordon and Ben Kesling, Declassified Interrogation Reports Show How Much Iran Shaped Iraq War, Wall St. J.
  (updated Aug. 30, 2018), available at https://www.wsj.com/articles/declassified-interrogation-reports-show-how-
  much-iran-shaped-iraq-war-1535621245.

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  their challenge to the alter ego liability, but, as explained below, Plaintiffs discussed alter-ego

  liability in their Opposition, ECF No. 117 (“Opp.”). Therefore, Defendants are not entitled to de

  novo review. Moreover, Judge Pollak’s conclusions were not erroneous, much less clearly

  erroneous.

  Objection 2: Defendants Assert That “The R&R Did Not Apply the Second Threshold
  Requirement in Section 2333(d)(2) that the Defendant Have ‘Conspire[d] with the Person
  Who Committed the Act of International Terrorism’ (R&R §§ IV.A-B, V.B.1-4).” Objs. at 11.

  Standard of Review: Clearly erroneous. (See Joint Reply Mem. at 8-10.)

  Judge Pollak’s Finding: “[N]ot only would FTO Hezbollah, or FTO Kata’ib Hezbollah, fall
  within the definition of a ‘person who committed an act of terrorism,’ but a Hezbollah-affiliated
  entity would also fall within the definition of persons or entities that Congress was concerned with
  in enacting JASTA.” R&R at 36. Moreover, Plaintiffs plausibly pled that the attacks at issue were
  committed by “Iran and its terror proxies” and that the SAC “clearly alleges that the attacks were
  all orchestrated by U.S. designated terrorist organizations, including Hezbollah, the SDGT IRGC-
  QF and their proxies, such as FTO Kata’ib Hezbollah.” R&R at 126 (emphasis added).

         Judge Pollak noted that the explicit purpose of JASTA was to “provide civil litigants with

  the broadest possible basis consistent with the Constitution of the United States, to seek relief

  against persons, entities, and foreign countries, wherever acting and wherever they may be found,

  that have provided material support, directly or indirectly, to foreign organizations or persons that

  engage in terrorist activities against the United States.” R&R at 32 (quoting JASTA § 2(b)). Judge

  Pollak observed that JASTA’s purpose—and its retroactive application to “suits such as the one at

  hand”—memorialized what other courts “have already concluded—namely, by conspiring to

  violate the material support provisions of the Act, Sections 2339A and 2339B, a person may be

  held liable for violations of Section 2333(a), if the other elements of 2333(a) are satisfied.” Id.

         Finally, Judge Pollak explicitly rejected Defendants’ argument that JASTA, despite all of

  the indications of its breadth, “may be asserted only in . . . narrow circumstances[].” Id. at 32 n.29

  (quoting the Supp. Reply Brief of HSBC Defs. and RBS N.V. in Supp. of Their Mot. to Dismiss,


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  ECF No. 129 (“HSBC/RBS Reply Br.”) at 2). As Judge Pollak noted, Defendants’ argument is

  simply to repeat – and narrowly construe - the word “person” from § 2333(d)(2), without even

  citing the statutory definition provided in § 2333(d)(1). Contrary to Defendants’ assertion, Judge

  Pollak has not “broadened” the meaning of “person” in JASTA; Congress did – explicitly.

     A. Defendants’ Attack on Judge Pollak’s Reading of “Person” Fails.

         Although Defendants repeat their argument that JASTA should be read narrowly, they now

  argue that Judge Pollak’s reading of “person” and “foreign terrorist organization” under JASTA

  to include that person, entity, or FTO’s aliases, agents, and affiliates is “clearly erroneous” and

  constitutes “a sweeping and impermissible view of . . . the person or entity that committed the

  terrorist attack.” Objs. at 9, 12-13. But § 2333(d)(1) states that “the term ‘person’ has the same

  meaning given the term in section 1 of title 1.” The latter defines “person” straightforwardly to

  “include[] corporations, companies, associations, firms, partnerships, societies, and joint stock

  companies, as well as individuals.” 1 U.S.C. §1 (emphasis added). In fact, Congress thus

  deliberately chose a definition of “person” for § 2333(d) liability that is far broader than the ATA’s

  existing definition in § 2331(3) (“any individual or entity capable of holding a legal or beneficial

  interest in property”). “Society” and “association” clearly encompass both FTO Hezbollah and the

  local Iraqi terror cells it funded, armed, trained and organized, and Congress’s definition plainly

  contradicts Defendants’ argument that § 2333(d)(2) only reaches the individual triggermen.

  Defendants’ appeal for a “narrower” construction of a statutory definition Congress expressly

  broadened is unsupportable. Judge Pollak’s conclusion that “it seems clear that Congress intended

  a broader definition of ‘person’ beyond just the specific individual representative of the Foreign

  Terrorist Organization who, for instance, actually planted the EFP that injured or killed a plaintiff,”

  R&R at 35, is plainly correct.



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           Defendants also contend, without support, that because JASTA does not explicitly mention

  alter ego liability, alter egos are exempted from the statute. 6 This argument is equally meritless.

  As Judge Pollak explained, National Council of Resistance of Iran v. Dep’t of State correctly held

  that it would be “silly” to treat a foreign terrorist organization differently than its “fundraising

  affiliate” or other agent, alter ego, or alias. 373 F.3d 152, 157 (D.C. Cir. 2004). In fact, Defendants’

  gloss on the statute was rejected by Congress when it made the express finding that “contribut[ing]

  material support . . . ‘directly or indirectly,’ to organizations that pose a significant risk of

  committing acts of terrorism . . . threaten[s] the security of nationals of the United States.” JASTA

  §§ 2(a)(6)-(7) (emphasis added), cited at R&R at 32. Defendants dismiss Judge Pollak’s recitation

  of that finding as an errant search for legislative intent; however the language quoted is not

  “legislative history,” but a congressional empirical finding that indirect material support threatens

  the security of U.S. nationals. Whether such support does so “is an empirical question” to which

  Congress’s (and the Executive’s) answer “is entitled to deference” and “significant weight.”

  Holder v. Humanitarian Law Project, 561 U.S. 1, 29, 34-36 (2010) (“Congress and the Executive

  are uniquely positioned to make principled distinctions between activities that will further terrorist

  conduct and undermine United States foreign policy, and those that will not”). 7

           Now, Defendants argue that “[i]f Congress had wanted to include liability for terrorist acts

  committed by ‘aliases’ of FTOs or non-FTOs, it could have done so.” Objs. at 10. But the law

  generally does not credit aliases or alter egos as separate entities, and Defendants cite no case



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          Defendants’ argument should presumably apply to all statutes, but they do not assert this theory in the context of
  § 2339B, which, like JASTA, explicitly references foreign terrorist organizations but not their alter egos.
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           Congress’s intent is separately set forth in the section of JASTA setting forth its “purpose.” That language
  (JASTA § 2(b)) is even less helpful to Defendants’ cause: “The purpose of this Act is to provide civil litigants with
  the broadest possible basis, consistent with the Constitution of the United States, to seek relief against persons, entities,
  and foreign countries, wherever acting and wherever they may be found, that have provided material support, directly
  or indirectly, to foreign organizations or persons that engage in terrorist activities against the United States.”

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  suggesting otherwise. In fact, in Nat’l Council, the D.C. Circuit relied on “ordinary principles of

  agency law,” which state that “[w]hen one entity so dominates and controls another that they must

  be considered principal and agent, it is appropriate, under AEDPA [Antiterrorism and Effective

  Death Penalty Act of 1996], to look past their separate juridical identities and to treat them as

  aliases.” Nat’l Council, 373 F.3d at 157.

           Defendants argue that Nat’l Council’s reasoning only applied to AEDPA, and “not the

  ATA.” Objs. at 9-10. This is a false distinction. The court there was reviewing the designation of

  an Iranian entity as an FTO by the Secretary of State that would subject the FTO’s members and

  representatives to prosecution under § 2339B(a)(1), a predicate crime for some of Plaintiffs’

  primary liability claims in this case. As the court found, “[t]he manifest purpose of these provisions

  is to deny terrorist organizations support – financial or otherwise – in and from the United States.”

  373 F.3d at 154. 8 Defendants’ “‘crabbed view of alias status’ ‘is at war not only with the

  antiterrorism objective of AEDPA’” and the ATA, “‘but common sense as well.’” R&R at 36

  (quoting Nat’l Council at 158) (emphasis added).

           Indeed, Defendants admit that other ATA cases have relied on Nat’l Council, some of

  which are cited by Judge Pollak, see id. (citing Goldberg v. UBS AG, 660 F. Supp. 2d 410, 432

  (E.D.N.Y. 2009) and Gill v. Arab Bank, PLC, 893 F. Supp. 2d 474, 555 (E.D.N.Y. 2012)) but

  claim that they are inapposite because they are pre-JASTA cases. 9 See also id. at 34 (quoting


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            See also United States v. Jama, 217 F. Supp. 3d 882, 892 (E.D. Va. 2016), aff'd sub nom. United States v.
  Dhirane, 896 F.3d 295 (4th Cir. 2018) (holding that under § 2339B, material support provided to an intermediary
  qualifies as providing it to an FTO if the intermediary is “broadly” “acting for or on behalf of an FTO,” as “Congress
  intended to reach all persons who act on behalf of an FTO to further its goals and objectives in significant ways.”).
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           Defendants’ argument is difficult to follow, as they mistakenly substituted Hussein, which is a post-JASTA
  decision, for Goldberg. Objs. at 10. Moreover, before making a 180-degree turn in its latest supplemental reply brief,
  Commerzbank agreed with Judge Pollak’s conclusion, relying upon and quoting Strauss: “‘A jury could find that
  Defendant sent the money to organizations that were controlled by Hamas, which is no different from sending the
  money directly to Hamas for purposes of the ATA.’” Defendant Commerzbank’s Supp. Mem. in Supp. of Its Motion
  to Dismiss, ECF No. 124, at 6 (quoting Strauss v. Credit Lyonnais, 925 F. Supp. 2d 414, at 434) (E.D.N.Y. 2013)).

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  Weiss, 768 F.3d at 202 n.9 (noting liability “under 2333(a) for providing material support to an

  organization that solicits funds for an FTO.”). However, Defendants do not explain why JASTA

  would operate any differently than § 2339B, the statute at issue in those cases. Section 2339B, like

  JASTA, refers specifically to FTOs and does not expressly mention alter ego liability.

         Finally, Defendants note that Shaffer v. Deutsche Bank AG, No. 16-CR-497-MJR-SCW,

  2017 WL 8786497, at *5 (S.D. Ill. Dec. 7, 2017) held that JASTA required an allegation that

  defendant conspired with an FTO, rather than a State Sponsor of Terrorism like Iran. Defendants

  urge this Court to adopt the same result as in Shaffer, but tacitly concede that the Shaffer court

  erred in reading “person” in JASTA to be limited to FTOs (much less their agents or principles),

  inserting as a parenthetical the phrase “or any other entity that committed an act of terrorism.”

  Objs. at 16 (emphasis added). Defendants made the same half-hearted argument previously (see

  December 19, 2017 Letter from John Buretta to Judge Pollak, ECF No. 150) and Judge Pollak

  addressed it. See R&R at 50 n.43, 63-64.

         In sum, Judge Pollak’s finding regarding agents, alter egos, fundraising affiliates and

  aliases is correct (and hardly “clearly erroneous”).

     B. Plaintiffs Identified the Persons and Entities With Which Defendants Conspired.

         Repeating a portion of their prior briefing nearly verbatim, see Joint Reply Mem. at 9-10,

  Defendants argue that Plaintiffs never identified the “person who committed the act[s] of

  international terrorism” at issue, and only alleged that Defendants conspired with “Iran and Iranian

  parties” that “serve as financial and logistical conduits for the IRGC and its terrorist activities,”

  and that “the Complaint did not plausibly allege … that Iran or any of ‘its banking agents’

  ‘committed’ any ‘act of international terrorism.’” Objs. at 11-12. Defendants are incorrect.

         First, Judge Pollak stated repeatedly in the 135-page R&R that Plaintiffs have plausibly

  pled that all of the attacks were committed by Iran and its terrorist proxies. A short list includes:
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             •   Iran and others supplied IEDs to “various terrorist organizations for the purpose of
                 killing or maiming American citizens,” R&R at 3 & n.3.

             •   “Plaintiffs allege that the EFPs . . . were not produced in Iraq but were manufactured
                 by Hezbollah and the Islamic Revolutionary Guard Corp. (‘IRGC’) for the specific
                 purpose of targeting American and Coalition Forces’ armored vehicles ‘with lethal
                 results.’” Id. at 3 n.2.

             •   “the IRGC directed different groups to ‘create disorder’ by ‘attack[ing] bases of
                 Coalition Forces’ in southern Iraq.” Id. at 8.

             •   “the well-publicized fact that Iran and its terror proxies were killing and maiming
                 American civilians and servicemen in Iraq,” Id. at 6.

             •   “Hezbollah helped Iran to arm, train, and fund a variety of groups ‘in an effort to
                 kill or maim Coalition Forces’ . . . . Hezbollah is alleged to have operated through
                 multiple proxies, some of which are controlled by the Iranian state.” Id. at 7.

             •   Describing “Iran’s role in providing assistance to FTOs such as Hezbollah, as well
                 as other terrorist groups, and Iran’s link to the use of EFPs against Coalition
                 Forces.” Id. at 52.

             •   “the Second Amended Complaint clearly alleges that the attacks were all
                 orchestrated by U.S. designated terrorist organizations, including Hezbollah, the
                 [Specially Designated Global Terrorist (“SDGT”)] IRGC-QF and their proxies,
                 such as FTO Kata’ib Hezbollah.” Id. at 126 (emphasis added).

             •   Describing Iranian “terror proxies in Iraq.” Id. at 51 n.41.

             •   “Plaintiffs allege that Iran, through Hezbollah and the IRGC, commenced a
                 campaign against American forces in Iraq following the fall of Saddam Hussein in
                 which Iran and Hezbollah, working together, designed the EFP, smuggled EFPs
                 into Iraq through IRGC and Hezbollah operatives, supplied local terror cells with
                 these weapons, and trained them in their use in targeting U.S. forces.” Id. at 55.

         Second, Judge Pollak credited Plaintiffs’ allegations that Defendants conspired with these

  persons and their agents, alter egos, aliases, and fundraising affiliates. See, e.g., R&R at 10

  (describing co-conspirator National Iranian Oil Company (“NIOC”) as an IRGC agent); 14

  (crediting allegations that Defendants facilitated payments for NIOC, MODAFL, the IRGC, and

  “companies working directly for Hezbollah and IRGC-Qods Force,”); 10-11 (finding that co-

  conspirator Mahan Air “facilitated the cover transport of IRGC-QF officers into and out of Iraq”


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  and “provides transportation services to Hezbollah”); 61-62 (describing Defendants’ knowing

  payment processing with Bank Saderat, including after its designation for financing Hezbollah,

  and transfers for Mahan Air, MODAFL, Hezbollah, and others); 68 (describing HSBC’s alleged

  admissions as to its “deliberate and calculated method to avoid US OFAC sanctions,” which it

  knew could “turn[] out to be connected to terrorism”); 71 (crediting allegations of transactions

  with IRISL, which was designated for shipping weapons for Hezbollah and the IRGC).

         Finally, Defendants’ reliance on Chief Magistrate Judge Gorenstein’s opinion on a motion

  to stay discovery in O’Sullivan v. Deutsche Bank AG, 17-cv-08709-LTS-GWG, Dkt. No. 118 at

  13 (S.D.N.Y. April 26, 2018), objs. overruled, Dkt. No. 154 at 1 (S.D.N.Y. Aug. 20, 2018), only

  highlights the clear error of their argument. Even if Judge Gorenstein’s “preliminary peek” at the

  eventual merits on a discovery motion, Steuben Foods, Inc. v. Country Gourmet Foods, LLC, No.

  08-cv-561S(F), 2009 WL 3191464, at *3 (W.D.N.Y. Sept. 30, 2009) (citation omitted), was

  entitled to the same weight as Judge Pollak’s comprehensive R&R on the actual motions to

  dismiss, that “peek” rested on a clear misreading of the statute. It found that the allegations there

  did “not show a conspiracy or agreement between any defendant and a foreign terrorist

  organization as opposed to a conspiracy or agreement between a defendant and Iran or the Agents

  and Proxies sponsoring such organizations.” R&R at 14 (emphasis in original). But the United

  States government has repeatedly found, and the Plaintiffs plausibly allege in this case, that FTO

  Hezbollah is Iran’s terror “Agent[] and Prox[y]”in Iraq. See, e.g., id. at 6-7 (crediting Plaintiffs’

  allegations that “Hezbollah is Iran’s ‘proxy, agent, and strategic partner’”), 55 (“Iran, through

  Hezbollah and the IRGC, commenced a campaign against American forces in Iraq . . . in which

  Iran and Hezbollah, working together,” deployed EFPs against Americans). See also SAC

  allegations listed supra at 8 n.4 (describing Hezbollah as a proxy of Iran and the IRGC). Moreover,



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  O’Sullivan also found, without support and without reference to the incorporated definition of 1

  U.S.C. § 1, that the “person” who committed the attack at issue must be the FTO that committed,

  planned, or authorized it. Id. at 13. This is the same error the Shaffer court made in reading

  “person” in JASTA to be limited to FTOs. See supra at 14.

         Defendants simply repeat both of O’Sullivan’s errors: falsely distinguishing between

  Hezbollah and Iran’s agents and proxies, when the U.S. government has repeatedly found that they

  were one and the same in Iraq; and ignoring the expressly incorporated definition of “person” to

  include entities such as Hezbollah. But Judge Pollak did not repeat those errors, and her findings

  were not clearly erroneous.

     C. Judge Pollak Correctly Rejected Defendants’ “Different Conspiracy” Argument.

         Judge Pollak also rejected repeated Defendants’ argument that the conspiracy they joined

  was, as a matter of law, different from Iran’s conspiracy to fund its terror apparatus. Specifically,

  she rejected HSBC and RBS’s argument that “plaintiffs allege a hub-and-spoke conspiracy, in

  which ‘Iran and its banks were the central actors in a hub-and-spoke conspiracy, in which HSBC

  or RBS N.V. were one spoke ... and Hezbollah and the Special Groups were another.” R&R at 54

  (quoting HSBC/RBS Reply Mem. at 7). As Judge Pollak explained, this is a mischaracterization:

         Plaintiffs, instead, characterize the hub-and-spoke conspiracy as Iran, Hezbollah,
         and Bank Saderat (as an agent of Hezbollah)—namely, the Iranian “terror
         apparatus”—as the central actors in the conspiracy, and the Moving defendants as
         different spokes. (Pls.’ Mem. at 17). Plaintiffs allege that Iran, through Hezbollah
         and the IRGC, commenced a campaign against American forces in Iraq following
         the fall of Saddam Hussein in which Iran and Hezbollah, working together,
         designed the EFP, smuggled EFPs into Iraq through IRGC and Hezbollah
         operatives, supplied local terror cells with these weapons, and trained them in their
         use in targeting U.S. forces.
         Each of the Moving defendants is alleged to have cooperated with, and provided
         financial assistance, to Bank Saderat, which operated in the central “hub” of this
         configured conspiracy. Moreover, plaintiffs assert that the Moving defendants were
         either aware of, or deliberately indifferent to, Bank Saderat’s connections with

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           Hezbollah as comprising the hub of this terror apparatus. As just one example, the
           HSBC defendants are alleged to have known that there was “direct evidence of
           Bank Saderat ‘funding of Hezbollah,’” but they nevertheless proceeded to falsify
           or omit information from payment orders at Bank Saderat’s request. Additionally,
           plaintiffs plead certain allegations as to the “mutual interdepend[ence]” of the
           Moving defendants [“communications between higher-ups at HSBC and RBS”].
  Id. (SAC citations omitted). 10 Defendants are entitled to dispute Plaintiffs’ conspiracy allegations,

  but Judge Pollak accurately characterized those allegations, and they are well pled.

       D. Because Defendants’ Arguments Are Either Restated or Could Have Been Made
          Previously, Their Objection Is Not Entitled to De Novo Review.

           As shown above, whereas Defendants’ conspiracy and JASTA arguments are merely

  repeated from their prior briefs, the agency argument they now make is raised here for the first

  time, even though Plaintiffs identified the issue in their Opposition. In fact, Plaintiffs discussed

  alter-ego and agency liability at length in their Opposition – citing the same case Judge Pollak

  discussed, Nat’l Council of Resistance of Iran v. Dep’t of State II (NCRI), 373 F.3d 152 (D.C. Cir.

  2004). See Opp. at 51-52, 66-67. Plaintiffs made this argument specifically in the JASTA context,

  see id. (“That ‘crabbed view’” rejected in Nat’l Council “is also one that Congress expressly

  rejected in JASTA, when it found that contributing material support, ‘directly or indirectly,’” to

  terrorist organizations, “threatens the security of U.S. nationals”), as well as in the context of

  § 2339A, id. at 50-53, and § 2332d, id. at 65-67. Defendants did not respond to these arguments

  in their Reply, and therefore should not be heard to raise them belatedly now.

           In fact, Plaintiffs’ Opposition repeatedly highlighted allegations that Defendants provided

  material support to entities under the control of FTO Hezbollah, the IRGC, and Iran, which were


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            See also id. at 57 n.45 (noting that Defendants’ own “conduct in altering and concealing the identity of those
  involved in these thousands of transactions makes it difficult for plaintiffs at the pleading stage to allege exactly what
  organization or terror group was involved in a specific transaction. Discovery of these hidden identities may reveal
  hundreds of examples of conduct by the banks that provided funding directly to Hezbollah or other terrorists.”). See
  also id. at 60-61 (crediting Plaintiffs’ “over 1,000 paragraphs alleging that various terrorist organizations, whose
  activities were funded through illegal transfer facilitated by the defendant banks, committed overt acts of terrorism
  resulting in significant injury and in many instances death to the plaintiffs.”).

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  each responsible for “committing” the attacks at issue. 18 U.S.C. § 2333(d). For instance, Plaintiffs

  highlighted in their Opposition that they alleged that:

               •   Defendants SCB, RBS, and HSBC “launder[ed] billions of dollars for an agent of
                   the IRGC – one of the Iranian instrumentalities directly responsible for the acts of
                   terrorism that injured Plaintiffs,” Opp. at 22 (first emphasis added);

               •   “Standard Chartered Bank actively conspired with entities later designated as
                   terrorists or agents of FTOs,” id. at 56 (emphasis added); and

               •   Co-conspirators and counterparties IRISL, Bank Melli, CBI, and others were “alter
                   egos” of and “instrumentalities and entities” controlled by Iran, id. at 65-68.

  The only Defendant to address the availability of alter ego liability was Commerzbank, which took

  the opposite position in its supplemental reply brief to the position Defendants take now. 11

          Because Defendants did not raise this issue before, despite having had the opportunity to

  do so (except for Commerzbank, which has evidently reversed position), they are not entitled to

  de novo review. Judge Pollak’s conclusions were not erroneous, much less clearly erroneous.

  Objection 3: Defendants Assert That “The R&R Erroneously Applied Halberstam to
  Override JASTA’s Statutory Requirements (R&R §§ IV.A-B, V.B.1-4).” Objs. at 18.

  Standard of Review: Clearly erroneous. (See Joint Reply Mem. at 7 n.2.)
  Judge Pollak’s Finding: Plaintiffs plausibly alleged that the objectives of the conspiracy included
  “facilitat[ing] illicit transactions for the benefit of various terrorist organizations, including
  Hezbollah, the MODAFL, the IRGC, IRISL, and other instrumentalities of Iranian state sponsored
  terror,” R&R at 12; see also id. at 50-55 (discussing at length the object of the alleged conspiracy).
       A. Defendants’ Argument that Halberstam Should Not Have Been Applied At All to
          JASTA Claims Here Is Contrived and Incorrect.

          Defendants argue that Judge Pollak applied the “less demanding” Halberstam standards

  for conspiracy and aiding and abetting to impermissibly skip application of “the two statutory



  11
           Commerzbank accepted that FTOs may act through an agent but argued that “the Complaint [does not]
  contain any allegations, much less non-conclusory allegations, that IRISL is an alter ego of, or controlled by,
  Hezbollah or any other FTO, such that IRISL can be said to be the same entity as that FTO, as would be alleged in the
  case of direct support.” Commerzbank’s Supp. Mem., ECF No. 124, at 6. Because Commerzbank is joining this
  contrary argument for the first time, it is likewise not entitled to de novo review of this issue.

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  thresholds” discussed in their first two Objections, Objs. at 18-19—namely, that Plaintiffs must

  allege that an FTO “committed, planned, or authorized” the attacks and that Defendants conspired

  with the “person[s] who committed” them, 18 U.S.C. § 2333(d)(2). They argue Plaintiffs’ JASTA

  theory of liability thus fails before even reaching the Halberstam framework. Objs. at 18

  (arguing—without any quotation—that Linde held that “courts are to apply” Halberstam “but only

  after first clearing the statutory hurdles” of § 2333(d)). Characteristically, Defendants provide no

  examples of this putative error—instead citing to nearly the entire R&R. See id. (citing “R&R at

  30-37, 30-123”).

         But Congress “instructed” courts to apply Halberstam as the “proper legal framework” for

  Plaintiffs’ conspiracy allegations. Linde, 882 F.3d at 329 (emphasis added). Linde did not impose

  any artificial restrictions on the application of Halberstam, but in fact construed JASTA’s

  otherwise undefined statutory reference in § 2333(d)(2) to “aids and abets” by applying

  Halberstam. Id. at 329-31 (finding that judgment could not be sustained on JASTA aiding and

  liability theory because jury was not instructed in Halberstam elements of aiding and abetting).

  Similarly, Judge Pollak used Halberstam to construe the otherwise undefined statutory reference

  in the same section to “conspires.” Nothing in JASTA supports Defendants’ nonsensical and

  unsupported “sequencing” theory. As Congress expressly stated, Halberstam provides “the proper

  legal framework for how such liability should function….” JASTA § 2(a)(5). That “framework”

  does not occur in a vacuum nor does it come after a court has applied JASTA’s statutory reference

  to “conspires”; as Congress expressly instructed, it provides the “proper legal framework” for

  construing § 2333(d) as a whole.

         Defendants also take issue with Judge Pollak’s observation that JASTA’s Findings and

  Purpose section calls for “the broadest possible basis” for civil litigants to seek relief,” arguing



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  that it is contrary to the “law’s explicit and unambiguous requirements.” Obj. at 18. But Defendants

  never point to any language in the statute that requires a narrower reading than the one Judge

  Pollak provided. 12

       B. Defendants’ Argument that Judge Pollak Misapplied Halberstam Fails.

           Defendants also argue that Judge Pollak’s application of Halberstam was “defective,”

  providing three “example[s]” of purported errors. Objs. at 19. First, Defendants fault Judge Pollak

  for “conflat[ing]” a “conspiracy to commit acts of international terrorism” with what they

  characterize as “a conspiracy to evade economic sanctions.” Objs. at 19 (citing R&R at 52-53). 13

  However, there is no question that Plaintiffs have adequately pled that Iran’s objective within the

  conspiracy was to orchestrate numerous terrorist attacks directed at Americans. See R&R at 51-52

  (citing Halberstam, United States v. Maldonado-Rivera, 922 F.2d 934, 963 (2d Cir. 1990)).

           Further, Plaintiffs also plausibly alleged that each Defendant conspired to provide or to

  conceal or disguise the nature, location, or source of material support (including letters of credit

  for items restricted due to their military uses) knowing it would be used in preparation for acts of

  terrorism or by FTOs. As Judge Pollak made clear, Plaintiffs alleged, in hundreds of paragraphs,

  that the objectives of the conspiracy included “facilitat[ing] illicit transactions for the benefit of



  12
           To the extent that Defendants also (confusingly) refer in this objection to Judge Pollak’s analysis of aliases,
  alter egos, agents, and fundraising affiliates of FTOs, this argument is addressed above. See supra at 12-13.
  13
            Defendants are not all on the same page. SCB more candidly characterizes the conspiracy’s objects as
  including “keeping U.S. depository institutions, law enforcement and counter-terrorism agencies blind to Iran’s
  movement of U.S. dollars through the international financial system,” Objs. at 40 (emphasis added). In any event,
  Defendants provide no rational basis for arguing that their participation in Iran’s conspiracy – however characterized
  – was less than the defendant in Halberstam. “We have upheld the district court’s finding that Hamilton and Welch
  agreed to undertake an illegal enterprise to acquire stolen property. The only remaining issue, then, is whether Welch’s
  killing of Halberstam during a burglary was an overt act in furtherance of the agreement. We believe it was. As noted
  above, a conspirator can be liable even if he neither planned nor knew about the particular overt act that caused injury,
  so long as the purpose of the act was to advance the overall object of the conspiracy. Welch was trying to further the
  conspiracy by escaping after an attempted burglary, and he killed Halberstam in his attempt to do so. The use of
  violence to escape apprehension was certainly not outside the scope of a conspiracy to obtain stolen goods through
  regular nighttime forays and then to dispose of them.” Halberstam, 705 F.2d at 487.

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  various terrorist organizations, including Hezbollah, the MODAFL, the IRGC, IRISL, and other

  instrumentalities of Iranian state sponsored terror,” R&R at 12; see also id. at 50-55 (discussing at

  length the object of the alleged conspiracy). The Complaint sets forth in detail that Defendants

  knew the aims of the conspiracy, given that they knew that their counterparties included a State

  Sponsor of Terrorism and Iranian banks that funded terrorist groups (for instance, Judge Pollak

  noted that “the HSBC defendants knew there was ‘direct evidence’ of Bank Saderat’s ‘funding of

  Hezbollah,’” and other banks received warnings from industry groups and the U.S. government)

  and knew the purpose of the laws they were violating. R&R at 13-14.

         Defendants may have been motivated by greed, but they acted in furtherance of Iran’s

  objectives: “the bank defendants gained business worth hundreds of millions of U.S. dollars, while

  the terrorist proxies were able to fund their attacks against U.S. and Coalition Force troops.” R&R

  at 52. While Iran’s object was certainly to commit acts of international terrorism, Judge Pollak did

  not have to find that this was the Defendants’ motivating object. She correctly found that the

  allegations plausibly pled a conspiracy to provide and to conceal and disguise material support for

  terrorism, and the Halberstam conspiracy elements incorporated into JASTA do not require

  additional allegations.

         To justify their challenge to Plaintiffs’ conspiracy claims, Defendants argue that

  “[m]ultiple courts have rejected the argument that an alleged conspiracy to evade economic

  sanctions is a conspiracy to commit an act of international terrorism,” but then cite two aiding and

  abetting cases, Rothstein and Siegel. Objs. at 20. Tellingly, on one occasion Defendants attempts

  to obscure the Siegel holding by describing the case as “dismissing secondary liability claims,” id.

  (emphasis added), although elsewhere they are more forthright, see Objs. at 7 (acknowledging that

  Siegel is an aiding and abetting case).



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           Second, Defendants also object to Judge Pollak’s recitation of black letter conspiracy law

  that “precise awareness of who one’s co-conspirators are is not a required element.” Objs. at 20-

  21. See R&R at 54 (citing Second Circuit and Supreme Court cases). Defendants instead argue

  that the Iranian co-conspirators could be the “legitimate agencies” of Iran described in Rothstein.

  Objs. at 20-21. However, as Judge Pollak described at length, Plaintiffs have plausibly alleged that

  Defendants’ co-conspirators included the IRGC, FTO Hezbollah, Iranian banks known to fund the

  IRGC and Hezbollah, and various entities that, as even Defendants characterize Plaintiffs’

  allegations, “serve as financial and logistical conduits for the IRGC and its terrorist activities.”

  Objs. at 12. 14

           Third, Defendants argue that “in addressing the additional elements of a Halberstam

  conspiracy—‘unlawful acts’, ‘an overt act’ and ‘injury’—the R&R errs repeatedly because it does

  not also address the elements of Section 2333(d)(2).” Objs. at 21-22. This is the same error

  Defendants made in arguing that Halberstam does not come into play at all because the SAC fails

  preliminary statutory hurdles. See supra at 19-20. Halberstam simply defines these elements of a

  JASTA conspiracy; it is not some foreign law outside of what Congress itself defined as “the

  proper legal framework.” And Judge Pollak correctly assessed those elements. She found that

  Defendants’ unlawful acts, including “stripping financial transactions, disguising payment

  sources, transferring funds to sanctioned entities, and manually altering payment information,”

  were “all in an effort to provide material support either explicitly to FTO Hezbollah, in violation

  of 18 U.S.C. § 2339B or to other entities who would commit criminal acts, in violation of 18

  U.S.C. § 2339A.” R&R at 56.



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           Defendants repeat their argument that Judge Pollak’s analysis “does not address Section 2333(d)(2)’s
  requirement that the defendant conspire with the entities who committed acts that injured or killed plaintiffs.” Objs.
  at 21. As explained in Plaintiffs’ responses to the prior two objections, this is incorrect.

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         This is also precisely the finding of the U.S. Treasury Department:

         Iran’s Islamic Revolutionary Guards Corps (IRGC) and IRGC-Qods Force, who
         channel funds to militant groups that target and kill Coalition and Iraqi forces and
         innocent Iraqi civilians, have used Bank Melli and other Iranian banks to move
         funds internationally. Bank Melli used deceptive banking practices to obscure its
         involvement from the international banking system by requesting that its name be
         removed from financial transactions when handling financial transactions on behalf
         of the IRGC.

  SAC ¶ 27. In short, Defendants’ “deceptive banking practices” “obscur[ing]” the involvement of

  Iranian banks and other entities in the international banking system is how Iran was able to target

  Coalition Forces in Iraq.

         Finally, two Defendants added individual arguments to this objection in footnotes. RBS

  argued the only way the R&R “purport[ed] to tie RBS to the ‘central hub’ of the alleged terror

  conspiracy” is through RBS’s connection to Bank Saderat or an agent of the IRGC, but that

  Plaintiffs alleged no such connections. Objs. at 20 n.12. However, as Judge Pollak recognized, the

  SAC is replete with well-pled allegations that RBS knowingly performed illegal transactions for

  the Central Bank of Iran (which also operated through its agent, Bank Saderat) and Bank Melli

  (which together funded the IRGC and Hezbollah), R&R at 90, along with IRGC agents NIOC, see

  SAC ¶ 400, and IRISL, including 90 transactions after IRISL was designated, id. ¶ 918. Plaintiffs

  also demonstrated RBS’s knowledge, quoting RBS emails acknowledging violations of U.S.

  “AML/anti-terrorism” regulations, id. ¶ 907, and its concession in a deferred prosecution

  agreement (“DPA”) that it “willfully and knowingly conspired” with the Iranian entities to violate,

  inter alia, the International Emergency Economic Powers Act, see id. ¶¶ 919-29 (and forfeited

  $500 million). See also R&R at 91-92 (describing these allegations).

         Credit Suisse likewise argues in its footnote that claims against it should be dismissed

  because Plaintiffs did not allege that it conspired with “any specific person or entity that



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  “committed . . . an act of international terrorism” and that it “‘ceased U.S. dollar clearing

  transactions for Iran in November 2006’ which is prior to the date of the alleged commission of

  the only two attacks in the Complaint that are alleged to satisfy the first threshold requirement of

  Section 2333(d)(2).” Objs. at 22 n.13 (citations omitted). Neither argument is correct. First, as

  Judge Pollak found, Plaintiffs alleged that Credit Suisse conspired with Hezbollah fundraising-

  affiliate Bank Saderat and IRGC fundraising-affiliate Bank Melli, and helped Mahan Air

  (designated an SDGT for, inter alia, transporting IRGC officers in and out of Iraq and indicted for

  smuggling IED components into Iran, R&R at 10-11) acquire aircraft equipment listed on the U.S.

  Commerce Control List for its military uses. R&R at 62-63, 94, 96-97 (noting “indications that the

  items were intended for entities such as the IRGC and MODAFL”).

          Second, Credit Suisse participated in the conspiracy during or before all of the attacks at

  issue—not just the two it credits. Credit Suisse’s claim that it “ceased” active participation in the

  conspiracy in 2006, Objs. at 22 n.13, does not immunize it—or any conspirator—from subsequent

  overt acts performed in furtherance of that conspiracy. See, e.g., United States v. Martinez, 862

  F.3d 223, 232–33 (2d Cir. 2017) (“proof merely that he ceased conspiratorial activity is not enough

  . . . . He must also show . . . either the making of a clean breast to the authorities, or communication

  of the abandonment in a manner reasonably calculated to reach co-conspirators”) (internal citation

  omitted). Without such notorious rejection or abandonment of the conspiracy – of which there is

  no evidence – Credit Suisse’s “participation in [the] conspiracy is presumed to continue until the

  last overt act by any of the conspirators,” id., and it is therefore liable for all of those overt acts.




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  Objection 4: Defendants Assert That “The R&R Failed to Analyze Plaintiffs’ Primary
  Liability Claims Under Rothstein (Claims I-VII) (R&R § V.B).” Objs. at 23.

  Standard of Review: Clearly erroneous. (Primary Liability previously argued in Defendants’
  Joint Mem. in Sup. of Mot. to Dismiss, ECF No. 120 (“Joint Mem.”), at 24-27 and their Joint
  Reply Mem. at 10-12; Proximate Cause objections previously argued in the Joint Mem. at 12-24
  and Joint Reply Mem. at 3-7.)
  Judge Pollak’s Finding: Plaintiffs can bring claims for violations of the material support statutes
  provided the allegations satisfy the elements of such claims under Linde and Weiss.
       A. Defendants’ Repeated Objection to Primary Liability with the Character of
          Secondary Liability Runs Contrary to Established ATA Law.

          As noted above at 2-5, Defendants repeatedly argue that claims predicated on violations of

  18 U.S.C. §§ 2339A and 2339B (“primary liability with the character of secondary liability”) “are

  not recognized in this Circuit.” Objs. at 23 (citing Rothstein, 708 F.3d at 97). See also id. at 15 n.9;

  23 n.14. For the reasons Plaintiffs state above, Judge Pollak’s conclusion that conspiracy to provide

  material support can form the basis of a primary liability claim is legally correct (and thus certainly

  not less clearly erroneous).

       B. Defendants’ Repeated Proximate Cause Objections Fail.

          Defendants repeat their arguments from their prior briefs that Plaintiffs failed to meet the

  proximate cause standard set out in Rothstein. See Objs. at 23-24 (admitting that their arguments

  were “set forth” “in the Moving Defendants’ prior submissions”). 15 Defendants argue that Judge

  Pollak “did not address the application of Rothstein to such primary liability claims,” and therefore

  Defendants “are entitled to a ruling on the insufficiency of those claims as primary liability claims

  under Rothstein and Linde.” Id.

          But their Objections ignore Linde’s observation that even “on a theory of aiding and

  abetting liability, there can be no question that Hamas acts of terrorism satisfy both the proximate


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           Defendants add one case that they did not have the opportunity to brief before——Owens v. BNP Paribas,
  S.A., 897 F.3d 266 (D.C. Cir. 2018). Owens, however, is inapposite here because, like the other cases cited by
  Defendants, it is an aiding and abetting case. See supra at 22.

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  and but-for causation standards.” 882 F.3d at 332. Whether Defendants’ conspiracy liability for

  providing and concealing material support for terrorism is through the incorporation of statutes in

  § 2333(a) or through JASTA, it is Iran’s terror proxies in Iraq which are plausibly alleged to have

  directly caused plaintiffs’ injuries. The causation issue for a conspirator (as opposed to an aider-

  and-abettor) is therefore whether the acts of those terror proxies were foreseeably in furtherance

  of the conspiracy. R&R at 42-43 (carefully drawing this distinction both for aiding and abetting

  and for conspiracy). Thus, Judge Pollak correctly held that liability for an injury proximately

  caused by an act performed in furtherance of a conspiracy falls on all co-conspirators:

         As to the extent of liability, once the conspiracy has been formed, all its members
         are liable for injuries caused by acts pursuant to or in furtherance of the
         conspiracy. A conspirator need not participate actively in or benefit from the
         wrongful action in order to be found liable. He need not even have planned or
         known about the injurious action . . . so long as the purpose of the tortious action
         was to advance the overall object of the conspiracy.

  Id. at 45-46 (quoting Halberstam v. Welch, 705 F.2d at 481) (emphasis added in the R&R). Judge

  Pollak accepted “plaintiffs’ reading of Rothstein as simply applying traditional tort principles to

  the ATA context,” and that courts required a showing “that the injury was ‘reasonably foreseeable

  or anticipated as a natural consequence.’” Id. at 44 (quoting Weiss v. National Westminster Bank

  PLC, 453 F. Supp. 2d 609, 631 (E.D.N.Y. 2006)). What Boim III called the “rubrics of ‘conspiracy’

  and ‘aiding and abetting,’” are part of those traditional tort principles, which is why there was “no

  impropriety” in using them to measure the primary tort liability of those who give material support

  to terrorists and their agents, as well as JASTA liability. 549 F.3d at 691.

         Defendants also mischaracterize Rothstein as holding that providing material support to

  Iran, its agents, or its terror apparatus generally cannot proximately cause terrorist attacks. Objs.

  at 26-27. Rothstein holds only that allegations that a defendant provided currency to a State

  Sponsor of Terrorism, without more, does not per se satisfy the pleading standard for plausibly


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  alleging that that provision proximately caused the acts of terrorism at issue. See Pls. Opp. at 56.

  In Rothstein, the Second Circuit provided alternative examples of types of allegations that, if pled,

  could support proximate cause. Defendants purport to summarize these examples, Objs. at 26, but

  their list only provides three of the four—whether they (1) participated in the attacks, (2) provided

  banking services directly to terrorists, or (3) provided services necessary to Iran’s terrorism

  funding—and omits a fourth (listed third in the Rothstein court’s list of examples), whether the

  funds that they transferred to Iran were given to terrorists. Rothstein, 708 F.3d at 97. 16

           In fact, as Judge Pollak found, Plaintiffs have satisfied all but the first of these as to

  Defendants’ conduct, even though this is not required to state a conspiracy claim. First, Plaintiffs

  alleged that Defendants provided services directly to terrorist groups or to their agents and

  fundraising affiliates, including Bank Saderat, Bank Melli, CBI, IRISL, Mahan Air, and the

  Martyrs Foundation. See, e.g., R&R at 14-15, 55, 61-71, 74, 78-104. Second, Plaintiffs alleged

  that Defendants provided services necessary to Iran’s terror financing regime. See R&R at 27 n.23

  (“the Court notes that plaintiffs do plead such . . . . describing the necessity of Iran’s access to the

  Eurodollar market to ‘fuel its . . . terrorism and weapons proliferation activities through the

  IRGC’”) (citing SAC ¶¶ 111, 113, 123-28)). Third, Plaintiffs repeatedly alleged that Iran used

  some of the banks directly, and each of them through the conspiracy—as found by the U.S.

  Treasury—to move money to terrorists, including $150 million directly to Hezbollah and the

  IRGC. See, e.g., R&R at 62, SAC ¶ 357. Defendants also moved $100 million directly to IRISL,

  including significant sums after IRISL was designated a Specially Designated National (“SDN”).

  R&R at 82. Even under the rubric of aiding-and-abetting analysis, these allegations are precisely


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           Their “fourth” just states that “Iran has legitimate uses for financial services.” Defendants begrudgingly
  acknowledge the example elsewhere. See Objs. at 34, 35 (acknowledging “the proximate cause element of . . .
  allegations that the funds provided by the defendant actually were transferred to a terrorist organization or were used
  in carrying out an attack perpetrated by that organization.”).

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  the kind that plaintiffs failed to plead in Rothstein and Owens. 897 F.3d at 275-76. See also infra

  at 46 (discussing the Owens allegations). Thus, even though Rothstein is not a conspiracy case,

  there can be no doubt that the illegal financial services Defendants provided to Iran’s terror and

  weapons procurement network are not the “legitimate agencies” the Rothstein court contemplated.

          Finally, as Judge Pollak noted, the ATA does not “require a showing that the funds

  attributed to the defendants were used to ‘buy the specific weapons and train the specific men who

  killed or injured the plaintiffs.’” R&R at 44 (quoting Weiss, 453 F. Supp. 2d at 631). Further,

  “given the fungible nature of money, . . . courts have declined to prescribe a certain formula for

  determining the question of proximate cause,” or “that the length of time between a financial

  transaction and the subsequent terrorist act is necessarily decisive of the question of proximate

  cause.” Id. (citing Weiss at 632). For instance, Judge Pollak rejected arguments that Plaintiffs failed

  to allege that letters of credit that Credit Suisse and SCB facilitated, such as those for aircraft for

  Iranian airline and SDGT Mahan Air, did not proximately cause the terrorist attacks at issue:

          As discussed above, plaintiffs need not trace individual transfers directly to the
          parts recovered from the terrorist attacks at issue in this action, especially during
          the pleading stage of the case. Nonetheless, plaintiffs do allege that “Mahan Air has
          also been identified as the conduit for radio frequency modules recovered from IED
          devices used to target the Coalition Forces in Iraq,” and that Mahan Air was
          responsible for transporting Hezbollah operatives. (SAC ¶¶ 678, 2277).

  Id. at 96 n.65.

          Ironically, one of the specific aircraft Credit Suisse and SCB illegally financed through

  New York on behalf of Mahan Air has been itself designated by the United States Treasury

  Department for its use in support of terrorism. 17



  17
            Compare United States Department of the Treasury Notification dated September 19, 2012,
  https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/Pages/20120919.aspx (identifying Mahan Air
  aircraft EP-MHJ as a Specially Designated Global Terrorist) with Exhibit A to the SAC at 70 and 104 (identifying the
  same aircraft).

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  Objection 5: Defendants Assert That “The R&R Erroneously Failed to Apply the
  Independent Statutory Requirement Recognized in Linde That the Complaint Plausibly
  Allege That the Moving Defendants Committed Acts of International Terrorism (Claims I-
  VII) (R&R § V.B).” Objs. at 27.

  Standard of Review: Clearly erroneous. (Raised in Defendants’ prior briefs, as Defendants admit,
  Objs. at 27 (citing moving papers).)
  Judge Pollak’s Finding: The Linde court “did not hold that banks could never be held primarily
  liable for providing material support. Rather, the court made it clear that this was a question of
  fact, and the jury needed to be instructed on and find proof of each separate element of 2331(1).”
  R&R at 30.
         Defendants repeat their arguments from their prior briefs that “Plaintiffs cannot plausibly

  assert that an objective observer would conclude” that they “committed violent acts or acts

  dangerous to human life,” Objs. at 27, 28, or that their extensive efforts to conceal and disguise

  financial transactions with Iranian counterparts for the purpose of evading counter-terror financing

  sanctions “appear[ed] to be intended’” to intimidate a civilian population or government, as

  required by § 2331(1). Id. at 27.

         First, contrary to Defendants’ continuing misstatement, § 2331(1)(A) does not require that

  their acts themselves be violent or dangerous to human life. Defendants have simply elided

  (without ellipsis) a layer of separation that Congress expressly inserted into the definition.

  “International terrorism means activities that involve acts or acts dangerous to human life,” and

  not necessarily that are themselves violent and dangerous. The separation is consistent with the

  fact that several of the predicate crimes referenced in the rest of the provision are material support

  crimes. Providing “financial services,” or even a “safehouse” or “false documentation,”

  § 2339A(b)(1), is not violent or, by itself, dangerous to human life, but when such support is

  provided for terrorist crimes, it surely “involves” the crimes for which it is used. And when such

  support is for an FTO, Congress has found that any support “facilitates” its terrorist activity. See

  Weiss, 768 F.3d at 208 (quoting AEDPA, §301(a)(7), 18 U.S.C. § 2339B note). Defendants’


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  extensive and pervasive criminal conduct constitutes “activities that involve violent acts” because

  they enabled a State Sponsor of Terrorism and terrorists to commit those violent acts. See also

  R&R at 60 (finding that “violence against American and other Coalition troops and civilians is a

  ‘foreseeable risk’ and not outside the scope of a conspiracy to provide material support for

  terrorism . . . .”). Obviously, no ATA civil decision, including Linde, has required a showing that

  the banking services in question were themselves violent or dangerous to human life, and several

  have clearly held the opposite. See, e.g., Wultz v. Iran, 755 F. Supp. 2d 1, 43-44 (D.D.C. 2010).

           Second, Defendants’ assertion that providing banking services can never meet the

  standards of § 2331(1) is, again, plainly wrong. Defendants cite Linde, although that court came

  to essentially the opposite conclusion. As explained supra at 5-6, Linde held that whether financial

  services meet § 2331(1)’s definitional requirements for an act of terrorism “raises questions of fact

  for a jury to decide.” Linde, 882 F.3d at 327. See also R&R at 30, 38, 40, 42 n.38, 88-89, 103,

  104. 18 Judge Pollak pointed out that the Linde court “did not hold that banks could never be held

  primarily liable for providing material support. Rather, the court made it clear that this was a

  question of fact, and the jury needed to be instructed on and find proof of each separate element

  of 2331(1).” R&R at 30. She later elaborated at length:

           To the extent that defendants argue that the provision of routine financial services
           can never be sufficient to support a claim under the ATA, the Second Circuit
           in Linde held that this was a question for the jury, concluding “only” that providing
           routine financial services to terrorist organizations “is not so akin to providing a
           loaded gun to a child as to excuse the charging error here and compel a finding that
           as a matter of law[,] such services constituted an act of international
           terrorism.” Linde v. Arab Bank, PLC, 882 F.3d at 327. Apart from the fact that the
           issue before this Court is presented at the pleading stage, where the proof
           requirements are even lower, here there are serious questions raised as to whether
           the conduct of the defendants in this case in working with the Iranian entities to

  18
            Defendants themselves admit that Linde only held “that it was reversible error [not] to instruct the jury” as
  to the elements required by § 2331 – a holding that is irrelevant to the Court’s assessment of the sufficiency of the
  allegations at the pleading stage. Objs. at 27.

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           develop sophisticated means to evade detection and avoid U.S. sanctions could be
           considered “‘routine banking services’[.]” Id. at 327. (See also Pls.’ Mem. at 5
           (noting that “the [Second Amended] Complaint, however, does not allege ‘the mere
           provision of banking services to Iran’”)) (alteration added).
  R&R at 56-57. See also id. at 42 n.38 (“Indeed, the defendants’ own internal memoranda

  memorializing special ways of handling transactions on behalf of Iranian entities seem to indicate

  that these were not even considered routine practices by the banks themselves.”)

           Judge Pollak also correctly recognized that a scienter requirement for knowledge can be

  satisfied by actual knowledge of the consequence of defendant’s actions or deliberate indifference:

  knowing that there is a substantial probability that the consequence will result. See R&R at 23

  (applying this definition to § 2339B, quoting both Boim III and Weiss to same effect). An objective

  observer could reasonably infer that Defendants’ knowledge of the high probability (indeed,

  substantial certainty) that at least some of the funds they illegally provided, concealed, and

  disguised for Iran would be used for terrorist acts and by FTO Hezbollah to coerce and intimidate

  the United States into withdrawing from Iraq. See Fritz v. Islamic Republic of Iran, 320 F. Supp.

  3d 48, 86 (D.D.C. 2018) (“[Iran engaged in] a comprehensive campaign to deter the U.S. from

  maintaining a presence in the Middle East by terrorizing and intimidating coalition forces”).

           Defendants point to three cases in support of their assertion that this Court should decide

  their “apparent intent” as a matter of law. Two are outlier cases Defendants raised in their prior

  briefing and which Plaintiffs have already distinguished, 19 as has Judge Pollak. See R&R at 57 and

  88-89 (distinguishing Stutts). In the eighth objection, SCB cites these again, and adds Mastafa v.

  Chevron Corp., 770 F.3d 170, 194 (2d Cir. 2014), an Alien Tort Statute case involving actual,


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           Plaintiffs addressed these in their Opposition. See Opp. at 31 n.40. These are Stansell v. BGP, Inc., No. 09-
  cv-2501-T-30AEP, 2011 WL 1296881, at *9 (M.D. Fla. Mar. 31, 2011), in which the plaintiffs conceded the point, as
  noted in Abecassis, 7 F. Supp. 3d at 676, and Stutts v. De Dietrich Grp., No. 03-CV-4058 (ILG), 2006 WL 1867060,
  at *1 (E.D.N.Y. June 30, 2006), a case that did not involve an act of terrorism or §§ 2339A or 2339B claims, and in
  which defendants allegedly performed routine and legal banking services for the purchase of chemicals that later
  injured U.S. soldiers allegedly exposed to those chemicals during post-war clean-up efforts in Iraq.

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  subjective intent, not the objective appearance of intent required by § 2331(1)(A). Defendants have

  no substantive answer to Plaintiffs’ or Judge Pollak’s analysis. See Objs. at 28 n.18 (offering, in a

  footnote, the conclusory assertion that Judge Pollak’s analysis has “no plausible basis”).

  Objection 6: Defendants Assert That “The R&R Erroneously Applied the Definitional
  Requirements of Section 2332d (Claims III and IV) (R&R § V.B.6).” Objs. at 29.

  Standard of Review: Clearly erroneous (certain arguments raised in Defendants’ prior briefs,
  Joint Mem. at 28-30, Joint Reply Mem. at 14-15, and certain arguments made here for the first
  time, even though Plaintiff raised them in their Opp., at 61-68).
  Judge Pollak’s Finding: “U.S. branches of foreign banks, depending on their structure and legal
  status, may be covered under subsection (C) if it is determined that they are ‘organized under the
  laws of the United States,’ or they may fit under the definition of subsection (D) and Section 2331
  as persons who can be held liable for actions while here in the United States if for some reason it
  is determined that because of how the 2332d defendant banks are structured they are not
  ‘organized’ under U.S. law.” R&R at 118. Transacting with “agents and proxies” of the Iranian
  government qualifies under § 2332d. Id. at 121-22.
            Judge Pollak held that Plaintiffs plausibly alleged a primary liability claim (although, like

  each of Plaintiffs’ claims, these are also cognizable under JASTA) against HSBC, SCB, RBS, and

  Commerzbank for violating 18 U.S.C. § 2332d, which criminalizes engaging in a financial

  transaction with a State Sponsor of Terrorism, like Iran. See R&R at 105. Judge Pollak found that

  these Defendants qualify as “United States persons” 20 under the statute because they are each a

  “juridical person organized under the laws of the United States” under § 2332d(b)(2)(C), given

  their hybrid roles as foreign banks operating in the United States (as made clear by the regulations

  implementing the Iranian sanctions regime). Judge Pollak further found that they each qualify as

  a “person in the United States” under § 2332d(b)(2)(D), as dictated by the language (including the

  definition of “person” explicitly incorporated by reference from § 2331(3)), the structure, and the

  policy goals of the statute. Id. at 105-21. In doing so, Judge Pollak analyzed the language and



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            HSBC Bank US N.A. is incorporated in the United States and does not dispute that it is a United States
  person.

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  structure of § 2332d, the sanctions implementation regulations, and other related laws and

  regulations. She also considered and rejected the arguments made by Defendants. Id.

      A. Judge Pollak Correctly Held That HSBC, RBS, SCB and Commerzbank Each
         Qualify as a “Juridical Person Organized Under The Laws Of The United States”
         Under § 2332d(b)(3)(C).

          Defendants repeat their arguments against Plaintiffs’ § 2332d claims from their opening

  and reply briefs nearly verbatim; however, they only now challenge the applicability of the

  implementing Iranian Trade Regulations (“ITRs”), even though Plaintiffs raised them in their

  Opposition. See Joint Mem. at 28-29, Joint Reply Mem. at 14-15; R&R at 109 (relying

  “particularly [on] the ITRs applicable to all banks” along with other bank regulations).

  Specifically, Defendants now challenge these regulations as “separate bodies of rules, with distinct

  purposes and scopes,” Objs. at 30. As Judge Pollak made clear, however, these regulations are

  directly related to the regulation of foreign banks operating in the United States and the United

  States’ counter-terror sanctions against Iran. In fact, as in their prior briefing, it is Defendants that

  attempt to analogize § 2332d to inapposite legal regimes. JPMorgan Chase Bank v. Traffic Stream

  (BVI) Infrastructure, Ltd., 536 U.S. 88, 90 (2002) (interpreting New York law), Samsun Logix

  Corp. v. Bank of China, 740 F. Supp. 2d 484, 493 (S.D.N.Y. 2010) (interpreting the Edge Act),

  EM Ltd. v. Banco Cent. De La Republica Argentina, 800 F.3d 78, 89 (2d Cir. 2015) (interpreting

  the Foreign Sovereign Immunities Act).

          Defendants’ new cases fare no better. In Greenbaum, the court held that a foreign bank is

  the same entity as its U.S. branch in certain contexts (there, Title VII)—but not in others.

  Greenbaum v. Handlesbanken, 26 F. Supp. 2d 649, 653 (S.D.N.Y. 1998). The court noted that “for

  certain purposes, both New York and federal law treat branches as separate entities,” and while

  the “rationale which underlies these limited exceptions to the legal identity of a bank and its

  branches have no application to Title VII law,” id. at 654, the rationales of the implementing the
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  ITR regulations clearly do relate precisely to § 2332d; otherwise, as Judge Pollak explained, U.S.

  branches of foreign banks could transact with the Iranian government with impunity. 21

          Deposit Insurance Agency, cited by Defendants, held that “a foreign governmental agency”

  is not a “United States person” under the Magnitsky Act. Deposit Ins. Agency v. Leontiev, No. 17-

  mc-00414(GBD)(SN), 2018 WL 3536083, at *7 (S.D.N.Y. July 23, 2018). Its dicta about the status

  of foreign corporations as “United States persons” relied on United States v. Chalmers, 474 F.

  Supp. 2d 555 (S.D.N.Y. 2007), Ofisi v. BNP Paribas, S.A., 278 F. Supp. 3d 84 (D.D.C. 2017), and

  Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 379 (2000). However, Judge Pollak

  correctly distinguished Chalmers and Crosby and found Ofisi unpersuasive. R&R at 111-16.

       B. Judge Pollak Correctly Held That HSBC, RBS, SCB and Commerzbank Qualify as
          “Person[s] in the United States” Under § 2332d(b)(3)(D).

          Judge Pollak rejected Defendants’ arguments in their moving papers that “any person in

  the United States” should be read as “natural person.” Judge Pollak noted that § 2331(3), which

  “provides the definition of ‘person’ for purposes of § 2332d(b)(2)(D), “explicitly defines ‘person’

  to include ‘any individual or entity capable of holding a legal or beneficial interest in property.’”

  R&R at 110 (quoting 18 U.S.C. § 2331(3)). Judge Pollak therefore agreed with Plaintiffs’

  conclusion that because Defendants are entities that can hold an interest in property and have

  branches in the United States, “they should be considered ‘persons in the United States.’” Id. at

  110-111 (quoting § 2332d(b)(2)(D)). Furthermore, if Congress had intended “person” in

  § 2332d(b)(2)(D) to mean only a natural person, it knows how to say so. See, e.g., 22 U.S.C.




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           The Greenbaum court also noted that the legislative history and “purposes” of three statutes—Title VII, the
  ADA, and the ADEA—made clear that “domestic operations of foreign companies” were subject to all three.
  Greenbaum, 26 F. Supp. 2d at 651 (quoting Morelli v. Cedel, 141 F.3d 39, 43 (2d Cir. 1998)) (“[I]t is not apparent
  why the domestic operations of foreign companies should be subject to Title VII and the ADA, but not to the ADEA.”).

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  § 1641(1) (“’Person’ means a natural person, partnership, association, other unincorporated body,

  corporation, or body politic.”).

         Judge Pollak also rejected Defendants’ citation to Ofisi, 278 F. Supp. 3d at 99, which read

  the word “natural” into § 2332d(b)(2)(C). The Ofisi court held that because a “juridical person

  organized under the laws of the United States” could also be a “person in the United States,” the

  latter must refer to natural persons. Judge Pollak noted that Ofisi ignored the ATA’s “explicit

  definition of ‘person,’ which does not limit the term to ‘natural person,’” R&R at 112, and found

  that any purported conflict between (C) and (D) is easily resolved, id. at 116-18. As Judge Pollak

  explained, sections (A) through (C) “relate to transactions involving U.S. citizens, permanent

  residents and entities,” and (D) is “clearly intended to apply to conduct occurring in the United

  States,” by domestic or foreign entities. Id. at 117. In addition to conforming to the language of

  the statute, any other reading would provide a massive loophole in the Iranian sanctions regime,

  by allowing foreign entities in the United States and operating under United States law, to engage

  in transactions with Iranian government instrumentalities without any of the limitations otherwise

  imposed on domestic entities. Id. at 118-20.

         Defendants now claim that “every other court to interpret the statute has held” that “‘any

  person in the United States’ . . . reaches only natural persons.” Objs. at 30. However, the two cases

  it cites other than Ofisi say no such thing. As Judge Pollak explained, the Chalmers court held that

  Bayoil S & T, a Bahamian company with no U.S. presence, was not a “United States person” under

  § 2332(d) just because it was owned by a U.S. citizen. R&R at 113. Abecassis, which involved the

  same defendant along with another foreign company with no U.S. contacts, came to the same

  conclusion, citing Chalmers. Abecassis v. Wyatt, 785 F. Supp. 2d 614, 648 (S.D. Tex. 2011), on




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  reconsideration in part, 7 F. Supp. 3d 668 (S.D. Tex. 2014). Neither case interprets or even

  discusses § 2332d(b)(2)(D) as being limited to natural persons or even uses that term.

         Defendants argue that notwithstanding the plain language of the statute, this Court must

  read the word “natural” into the statute. First, Defendants argue that “[i]t is a fundamental principle

  of statutory construction that ‘the specific governs the general,’” and thus “specific language and

  context of Section 2332d displaces the general definitions in Section 2331.” Objs. at 31. Second,

  Defendants argue that Judge Pollak’s assessment of “the policies underlying the Iranian sanctions

  regime” cannot “supersede statutory language.” Id. at 31-32.

         In both cases, the “specific language” and the “statutory language”—“natural person”—is

  supplied by Defendants, not Congress. Needless to say, the plain meaning of a statute governs, and

  the law’s actual language is not superseded by inserting a non-existent word simply because a

  party prefers it. See, e.g., Theodoropoulos v. I.N.S., 358 F.3d 162, 171 (2d Cir. 2004) (“we need

  not resort to canons of statutory construction beyond the most basic one: construing [the statute]

  according to its plain meaning.”). Even if the statute were in some way ambiguous, Judge Pollak’s

  interpretation (including of the regulatory regime’s policies, undisputed by Defendants) avoids the

  absurd result of reading into the statute a safe harbor for U.S. branches of foreign banks to conduct

  transactions with the Iranian government that no U.S. bank, corporation or “natural” person can,

  lawfully conduct.

     C. Judge Pollak Correctly Held That Transactions With Iran’s Agents and Alter Egos
        Qualify as Transactions with the Iranian Government.

         Judge Pollak credited Plaintiffs’ allegations that Defendants transacted with “agents and

  proxies of the Iranian government,” knowing, or willfully disregarding knowledge of, that

  relationship. R&R at 121-22. The R&R also cited cases finding that Bank Melli and IRISL are

  controlled by Iran. Id. at 122. See also Shoham v. Islamic Republic of Iran, No. 12-CV-508 (RCL),


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  2017 WL 2399454, at *8 (D.D.C. June 1, 2017) (“In 2009, Iran announced a program to privatize

  Bank Saderat, but that process has been a sham because the bank is still controlled by the

  government.”).

           Defendants argue that “agents and instrumentalities of Iran are not the government of Iran

  for purposes of Section 2332d,” Objs. at 32 (although they take the opposite position when

  discussing Rothstein, see Objs. at 20), but only cite a case interpreting the attachment procedures

  under the Foreign Sovereign Immunities Act. Id. (citing EM Ltd. v. Banco Cent. De La Republica

  Argentina, 800 F.3d 78, 89 (2d Cir. 2015)). In fact, Defendants’ case itself states:

           But this presumption of separateness may be rebutted by evidence establishing an
           alter-ego relationship between the instrumentality and the sovereign state that
           created it. Specifically, the presumption may be overcome and an alter-ego
           relationship established if: (1) the instrumentality “is so extensively controlled by
           its owner that a relationship of principal and agent is created”; or (2) the recognition
           of an instrumentality’s separate legal status would work a “fraud or injustice.”

  EM Ltd., 800 F.3d at 90. Indeed, courts have already found that the Central Bank of Iran does not

  act with the independence of, e.g., the Central Bank of Argentina at issue in EM Ltd. See Peterson

  v. Islamic Republic of Iran, No. 10-cv-4518 KBF, 2013 WL 1155576, at *26 (S.D.N.Y. Mar. 13,

  2013), aff’d, 758 F.3d 185 (2d Cir. 2014), aff’d sub nom. Bank Markazi v. Peterson, 136 S. Ct.

  1310 (2016) (“E.O. 13599 suggests that Bank Markazi is not engaged in activities protected by

  § 1611(b)”). As shown above, Judge Pollak found that Plaintiffs plausibly alleged that Defendants

  transacted with alter egos of Iran—including the Central Bank of Iran. 22




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           “The entire apparatus of the Iranian state and government, and many parts of Iran’s private sector, including
  corporations (e.g., National Iranian Oil Company, Iran Air, Iran Shipping Lines); banks (e.g., Central Bank [of Iran],
  Bank Sepah); state-run media . . .; private individuals; and even charities are at the service of [Iran’s] Supreme Leader,
  the IRGC, and the [Ministry of Intelligence] when it comes to support of terrorism.” In re Terrorist Attacks on Sept.
  11, 2001, No. 03 MDL 1570 (GBD) 2011 WL 13244047, at *6 (S.D.N.Y. December 22, 2011).



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  Objection 7: Defendants Assert That “The R&R Erroneously Failed to Apply the Second
  Circuit’s Requirements To State a Primary Liability Claim in the Separate Claims Asserted
  Against Commerzbank (Claims V and VI) (R&R § V.B.5).” Objs. at 34.

  Standard of Review: Clearly erroneous. (See Commerzbank’s Supp. Mem. in Supp. of Its Mot.
  to Dismiss, ECF No. 124 (“Commerz. Supp. Mem.”), at 5-10, Commerzbank AG’s Supp. Reply
  Mem. in Supp. of Its Mot. to Dismiss, ECF No. 127 (“Commerz. Supp. Reply Mem.”), at 2-8).
  Judge Pollak’s Finding: “Once again, the Court reiterates Linde’s analysis as to primary liability:
  the question of whether the transactions on behalf of IRISL were, definitionally, ‘acts of
  international terrorism’ is a question for the jury, as are other questions of fact raised here.” R&R
  at 103. Judge Pollak also held that Plaintiffs plausibly alleged that Commerzbank knowingly
  transferred money between fundraising affiliates of Hezbollah. (Finally, Judge Pollak found that
  Plaintiffs alleged facts showing that Commerzbank conspired with Hezbollah’s fundraising
  apparatus, which establishes pendant personal jurisdiction.)
     A. Commerzbank Rehashes Its Argument That Its Support for SDN IRISL Could Not
        Qualify as an Act of International Terrorism or Proximately Cause Plaintiffs’
        Injuries.

         Although Defendants raised the proximate cause argument generically in Objection 4,

  Commerzbank makes the same argument again individually as Objection 7. In fact,

  Commerzbank’s argument is drawn, nearly verbatim, from its Supplemental Memorandum, where

  it argued that its provision of material support to IRISL, including support even after IRISL was

  designated an SDN for its involvement in Iran’s WMD program (EFPs are a type of WMD), cannot

  qualify as an act of international terrorism and cannot have proximately cause Plaintiffs’ injuries.

  Compare Objs. at 34 with Commerz. Supp. Mem. at 5-7. Specifically, Commerzbank repeats its

  argument that Plaintiffs did not allege that IRISL passed on the very funds that Commerzbank

  illegally processed for it to Hezbollah.

         As Judge Pollak correctly found, Plaintiffs allege that Commerzbank provided tens of

  millions of dollars to IRISL both before and after its designation for transporting weapons,

  including EFP components, on behalf of Hezbollah and the rest of Iran’s terror apparatus. As

  discussed above, because the great majority of Plaintiffs allege that they were injured in Iranian

  EFP attacks orchestrated by Hezbollah, the allegations support both proximate cause and the other

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  elements of an act of international terrorism. See R&R at 103. The Linde court obviously did not

  require allegations of payments traceable to particular suicide bombings; payments for an entity

  notorious for shipping WMDs and their components used in terrorist attacks suffice.

         Commerzbank also argues, without elaboration, that Judge Pollak erred in concluding that

  whether its transfer of tens of millions of dollars to IRISL was an act of international terrorism is

  a question for the jury, because “Plaintiffs’ allegations . . . are plainly distinct from the facts at

  issue in the Linde trial, which included evidence that the defendant bank may have knowingly

  processed ‘payments for suicide bombings.’” Objs. at 35 (citing Linde, 882 F.3d at 330). To begin

  with, a complaint does not have to provide evidence establishing its allegations, although the

  Complaint certainly comes close based on its detailed reliance on findings by the United States

  government. Second, the Complaint plausibly makes allegations from which a jury could infer the

  required apparent intent from Commerzbank’s knowledge that there was a high probability that

  the funds it concealed and disguised for the WMD-transporting IRISL and the Hezbollah

  fundraiser, Waisenkinderprojekt, would support terrorist attacks intended to coerce and intimidate

  Coalition Forces and Iraq’s civilian population. See, e.g., R&R at 9-10 (describing IRISL’s role in

  transporting WMDs, including EFP components), 14 (“Commerzbank facilitated payments on

  behalf of IRISL, knowing or being deliberately indifferent to the fact that IRISL was designated a

  SDN for facilitating shipments of military cargo destined for MODAFL which could be used

  against Coalition Forces in terrorist attacks.”), 99-103 (same), 103-04 (noting Plaintiffs’

  allegations that the Orphan’s Project provided “direct support to Hezbollah”). See also SAC ¶¶

  992, 1012-31, 1035-38, 1040. Indeed, that result was substantially certain when Commerzbank

  continued such transactions even after IRISL’s designation. Id. ¶1038.




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       B. Commerzbank Rehashes Its Argument that Its Support for a Hezbollah Fundraiser
          Could Not Qualify as an Act of International Terrorism or Proximately Cause
          Plaintiff’s Injuries.

           Commerzbank also repeats its argument that Plaintiffs never alleged that the Martyrs

  Foundation, to which it allegedly transferred funds on behalf of Hezbollah-linked charity

  Waisenkinderprojekt, itself transferred funds to or was an alter ego of Hezbollah. Compare Objs.

  35-37 with Commerzbank Supp. Mem. at 8-9. 23 Judge Pollak, however, credited the “Treasury

  Report announcing the designation of the Martyrs Foundation as an SDGT for channeling

  ‘financial support from Iran’” to Hezbollah. R&R at 103-04. 24 Judge Pollak further held that these

  allegations can support a § 2339B violation under both the funds pass-through standard given in

  Goldberg v. UBS, 660 F. Supp. 2d at 433, and the alter ego standard in Strauss v. Crédit Lyonnais,

  S.A., No. 06-cv-0702 (CPS), 2006 WL 2862704, at *10 (E.D.N.Y. Oct. 5, 2006). R&R at 103-104.

  Contrary to Commerzbank’s undeveloped and unsupported assertion, O’Neill v. Al Rajhi Bank (In

  re Terrorist Attacks on Sept. 11, 2001), 714 F.3d 118 (2d Cir. 2013), did not overrule Goldberg or

  Strauss sub silentio, or address them at all. See Opp. at 50 (discussing Al Rajhi). Judge Pollak’s

  holding was not erroneous, much less clearly erroneous, as required here.

           Commerzbank also cites Weiss, 453 F. Supp. 2d at 623, to argue that fundraising for

  Hezbollah is insufficient to establish control by Hezbollah. Objs. at 36. But this raises fact

  questions about degree of control and alter ego status that should not be decided on a motion to


  23
           Commerzbank also argued that Judge Pollak “did not address” the act of international terrorism “requirement
  for the Orphans Project Claim at all, and this claim in any event fails to satisfy this requirement.” Commerzbank does
  not support this objection except to cite to Defendants’ Objection 5, which Plaintiffs address supra.
  24
           That Report also noted the U.S. government’s designation of “Qasem Aliq, a Hizballah official who was
  previously the director for the Martyrs Foundation branch in Lebanon. In addition to overseeing Martyrs Foundation’s
  operation, Aliq worked closely with senior Hizballah officials.” The Report also noted the designation of Ahmad al-
  Shami. According to the Report, “Hizballah leadership placed Ahmad al-Shami in his position at the Martyrs
  Foundation in Lebanon.” See Press Release, U.S. Dep’t Treasury, Twin Treasury Actions Take Aim at Hizballah’s
  Support Network (July 24, 2007) (hereafter “Treasury Report”), available at https://www.treasury.gov/press-
  center/press-releases/Pages/hp503.aspx.


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  dismiss. Further, as noted supra at 4, the Second Circuit later ruled in Weiss that “a defendant may

  be liable for civil remedies under § 2333(a) for providing material support to an organization that

  solicits funds for an FTO,” and that scienter is established if the bank “provided material support

  to [the fund-raiser] while having knowledge that, or exhibiting deliberate indifference to whether,

  [the fundraiser] ‘solicit[ed] funds or other things of value’ for [an FTO]….” 768 F.3d at 209

  (internal citation omitted). The Complaint sufficiently alleges that Commerzbank knew of or was

  deliberately indifferent to the Martyr’s Foundation’s fundraising for Hezbollah. SAC ¶¶ 1039-40.

         Moreover, Judge Pollak addressed and rejected Commerzbank’s citations to Rothstein and

  Al Rajhi, pointing out that another court has rejected the same argument. See R&R at 100 n.67

  (quoting Lelchook v. Commerzbank AG, No. 10 CIV. 5795, 2011 WL 4087448, at *1 (S.D.N.Y.

  Aug. 2, 2011)). Judge Pollak noted that Judge Hellerstein in Lelchook “found Orphans Project

  Lebanon to be part of Hezbollah” for pleading purposes. Id. Judge Hellerstein held that because

  Commerzbank allegedly “maintained a bank account for a Hezbollah front; this distinction takes

  the case outside the rule of Rothstein, for a terrorist front organization has no legitimate function

  that the United States recognizes.” Lelchook, 2011 WL 4087448, *1. Judge Pollak also noted that

  “[t]o the extent that Al Rajhi required the organizations [receiving the funding] to have ‘aided in

  the [ ] attacks’ at issue, the Court notes that plaintiffs here do allege that the organizations have,

  indeed, aided in the attacks at issue by providing direct support to Hezbollah.” R&R at 104.

     C. Commerzbank Rehashes Its Argument that this Court Has No Personal Jurisdiction
        Over It.

         Commerzbank argues again that Plaintiffs’ allegations against it do not arise from the same

  nucleus of facts as the larger conspiracy allegedly involving the other Defendants, and therefore

  that there can be no pendent personal jurisdiction. Judge Pollak rejected this argument, noting that

  although the Fifth and Sixth Claims for Relief are not styled as conspiracy claims, Plaintiffs’


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  allegations show “that Commerzbank knowingly entered into a conspiracy to provide material

  support to an FTO in violation of Section 2339B, as shown by its maintenance of an account on

  behalf of a fundraising organization known to fund Hezbollah.” R&R at 101.

         Commerzbank argues that the larger conspiracy “is defined by its objectives to facilitate

  and conceal dollar transactions through the United States on behalf of Iran and its agents,” whereas

  Plaintiffs did not allege that “any of the Orphans Project transactions involved the United States

  or that Orphans Project was an agent or alter ego of Iran . . . .” Objs. at 37. As noted above, neither

  Judge Pollak nor Judge Hellerstein has accepted Commerzbank’s argument that the Orphan’s

  Project is not an alter ego of Hezbollah, an alleged co-conspirator. Further, in its personal

  jurisdiction argument, Commerzbank quietly drops the Martyrs Foundation, presumably because,

  as shown above, the U.S. Treasury Department reported that the Martyrs Foundation “is an Iranian

  parastatal organization that channels financial support from Iran to several terrorist organizations

  in the Levant, including Hizballah . . . .” Treasury Report, supra at 41 & n.24.

  Objection 8: Defendants Assert That “The R&R Failed to Apply Rothstein and Incorrectly
  Applied Linde to Plaintiffs’ Seventh Claim for Relief Against SCB (Claim VII) (R&R §
  V.B.4(d)).” Objs. at 37.

  Standard of Review: Clearly erroneous (proximate cause arguments raised in Standard Chartered
  Bank’s Supp. Mem. in Supp. of Its Mot. to Dismiss, ECF No. 123 (“SCB Supp. Mem.”), at 5-9,
  SCB’s Supp. Reply Mem. in Supp. of Its Mot. to Dismiss, ECF No. 130 (“SCB Supp. Reply
  Mem.”), at 1-6; Linde arguments raised in Defendants’ Notice of New Authority dated February
  15 and March 2, 2018 (See ECF Nos. 155-57); SCB’s knowledge arguments not raised before,
  even though Plaintiffs made and relied on the relevant allegations in their SAC, ¶¶ ¶¶ 52-53, 56,
  626, 683, 685-793, 802, 812, 2275-93)
  Judge Pollak’s Finding: Plaintiffs sufficiently alleged that SCB’s alleged illegal facilitation of
  letters of credit proximately caused their injuries and meet the definitional requirements of an act
  of international terrorism under § 2331(1).
     A. SCB Rehashes Its Argument That Plaintiffs Failed to Establish Proximate Cause.

         SCB argues that Judge Pollak failed to determine whether Plaintiffs plausibly alleged that

  its illegal facilitation of letters of credit proximately caused their injuries. Objs. at 37-39. As it

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  admits, the argument is repeated from its motion to dismiss briefing. Objs. at 38 (citing SCB Supp.

  Mem. at 5-9). However, Judge Pollak did determine that proximate cause was adequately pled as

  to all of Plaintiffs’ primary liability claims. See, e.g., R&R at 27, 30, 42-45, 67, 96 n.65. As shown

  supra, Judge Pollak specifically explained how Plaintiffs’ primary liability claims alleging that

  SCB violated Section 2339A by financing illegal trade on behalf of the IRGC and MODAFL

  through letters of credit satisfy the proximate cause requirements of Rothstein and Weiss. 25 SCB

  adds nothing new in this objection.

       B. SCB’s Cursory Argument that It Did Not Commit an Act of International
          Terrorism as a Matter of Law Conflicts with Second Circuit Law.

           SCB presents its own version of the Defendants’ arguments concerning § 2331(1)’s

  definitional requirements, although it adds nothing in doing so. Specifically, Defendants argue that

  (1) Plaintiffs did not allege that SCB “committed violent or dangerous acts,” because they did not

  allege that “banking services or LC transactions themselves were violent or dangerous to human

  life,” Objs. at 39-40 (citing Linde, 882 F.3d at 326) (emphasis added); and (2) Plaintiffs did not

  allege that SCB “intended to intimidate or coerce civilians or a government,” because Plaintiffs

  only alleged that its aims included “keeping U.S. depository institutions, law enforcement and

  counter-terrorism agencies blind to Iran’s movement of U.S. dollars through the international

  financial system.” Objs. at 40.

           Like the other Defendants, SCB omits the operative language from § 2331(1)(A), which

  defines “international terrorism” as “activities that [] involve violent acts or acts dangerous to

  human life.” (Emphasis added.) And, as explained above, no court has held that banking activities

  cannot satisfy that definition. See supra at 30-31. Unlike the other Defendants, however, SCB also


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           Unlike most of Plaintiffs’ claims predicated on conspiracy principles, Claim VII is properly analyzed through the
  prism of aiding-and-abetting principles of proximate cause.


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  omits the operative language of § 2331(1)(B), when it argues that the SAC does not allege “that

  SCB intended to intimidate or coerce civilians or a government.” Objs. at 40. Section 2331(1)(B)

  does not require any such allegation; it requires that plaintiffs allege only that defendant’s activities

  “appear to be intended” to have such objectives or effects. This standard “does not depend on the

  actor’s beliefs, but imposes on the actor an objective standard to recognize the apparent intentions

  of actions.” Weiss, 768 F.3d at n.6 (citing Boim III, 549 F.3d at 693-94). But Plaintiffs have

  plausibly alleged that SCB’s massive and years-long central role in Iranian terror financing could

  objectively appear to be intended to accomplish Iran’s terrorist goals, and that such an apparent

  intent can be inferred from the Defendants’ knowledge of the high probability of such effects. In

  fact, SCB’s own characterization of Plaintiffs’ allegations—that SCB sought to blind U.S. counter-

  terrorism agencies for Iran’s benefit—demonstrates that apparent intent and supports such an

  inference. 26

       C. SCB Repeats Its Argument that Plaintiffs Failed to Allege Its Knowledge Under
          § 2339A.

          In a footnote, SCB posits, without elaboration, that Plaintiffs failed to allege “the requisite

  scienter under Section 2339A,” Objs. at 40 n.23—that is, that the material support it provided or

  concealed and disguised would be used in preparation for terrorist attacks. SCB made a similarly

  cursory argument in its prior briefing. See SCB Supp. Mem. at 3 (“But Plaintiffs do not allege . . .

  any facts to support an allegation that SCB knew the purchasers and sellers of the goods were

  supporting terrorist groups”). SCB’s unsupported assertion is thus not entitled to de novo review.



  26
           Further demonstrating SCB’s apparent intent, SCB is again negotiating with U.S. authorities as to yet more
  illegal banking it allegedly performed on Iran’s behalf—this time, it is “bracing” for a $1.5 billion penalty. See
  Ambereen Choudhury et al., StanChart Said to Brace for New Iran Fine of $1.5 Billion, Bloomberg (Oct. 1, 2018),
  available at https://www.bloomberg.com/news/articles/2018-10-01/stanchart-said-to-brace-for-new-iran-fine-of-
  about-1-5-billion. Despite multiple extensions of its prior agreements with U.S., “[a]uthorities said the bank’s
  sanctions-compliance program ‘has not yet reached the standard required.’” Id.


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         This time, SCB cites Owens, which held that “plaintiffs must allege sufficient facts to show

  either that (1) defendants knew Sudan was acting as an agent of al Qaeda or of an individual

  terrorist; or (2) that defendants knew the ultimate beneficiaries of the financial services would be

  a terrorist organization or terrorist.” Owens v. BNP Paribas S.A., 235 F. Supp. 3d 85, 98–99

  (D.D.C. 2017), aff’d, 897 F.3d 266 (D.C. Cir. 2018). However, the Owens plaintiffs failed to so

  allege—the court noted that “the extent to which the arrangement between al Qaeda and Sudan

  was generally known” in the relevant time period was “unclear from the complaint”; and in fact

  “it was al Qaeda that appears to have provided cash to Sudan.” Id. at 99. Those threadbare

  allegations are a far cry from the hundreds of detailed allegations here showing that Iran was the

  world’s foremost State Sponsor of Terrorism for years and had notoriously used Hezbollah and

  the IRGC to commit terrorist attacks against U.S. soldiers in Iraq. Further, the allegations here

  detail dozens of specific illicit transactions—performed knowingly and brazenly by SCB–that

  made it possible for Iran’s military and terror apparatus to acquire vital materials that the U.S.

  government has expressly prohibit Iran from obtaining. SAC ¶¶ 652, 673-684, 685-712, 713-93,

  794-810, 811-24, 825-38. It was therefore not “clearly erroneous” for Judge Pollak to reject SCB’s

  absurd throw-away argument, which is deservedly buried in a footnote.

  III. PLAINTIFFS’ RESPONSES TO BANK SADERAT’S OBJECTIONS

  Bank Saderat’s First Objection: “Act of War Limitation Precludes This Action Under the
  ATA.” BS Objs. at 1.

  Standard of Review: Clearly erroneous (see Bank Saderat’s Mem. in Supp. of Its Mot. to Dismiss,
  ECF No. 116 (“BS Mem.”), at 2-12, Bank Saderat’s Reply Mem. Supp. if its Mot. to Dismiss,
  ECF. No. 118 (“BS Reply Mem.”), at 2-9.
  Judge Pollak’s Finding: Bank Saderat failed to prove that the act of war exemption applied at the
  pleading stage of the case.
         Bank Saderat repeats its argument from its moving papers that § 2336’s act of war

  exemption to ATA civil liability applies to the terrorist attacks that injured or killed Plaintiffs,

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  although it has since abandoned its argument that the act of war exemption is jurisdictional. While

  Bank Saderat’s arguments remain incorrect for the reasons outlined in the R&R and Plaintiffs’

  prior briefing, they are now mooted by the passage of the Anti-Terrorism Clarification Act of 2018,

  Pub. L. 115-253 (“ATCA 2018”). The ATCA 2018, which applies “to any civil action pending on

  . . . the date of the enactment of the Act,” provides a “clarification of the term ‘act of war’” in

  § 2331. Id., § 2. Specifically, it states that “the term ‘military force’ does not include any person

  that [] has been designated as” an FTO or SDGT or “(B) has been determined by the court to not

  be a ‘military force’.” Id. Because both Hezbollah and the IRGC (and IRGC-QF) have been so

  designated and are responsible for the attacks at issue, the attacks at issue cannot satisfy § 2336

  definitional standard for acts of war. 27

           Bank Saderat’s remaining argument, also repeated from prior briefing, is its reliance on

  Stutts, 2006 WL 1867060, at *4, which found that injuries to U.S. service members sustained from

  disposing of Iraqi military munitions seized in the 1991 Persian Gulf War were the result of “acts

  of war” within the meaning of §§ 2336(a) and 2331(4). Judge Pollak correctly rejected the

  argument, crediting Plaintiffs’ allegations: (1) the attacks at issue all occurred “after the actual

  armed conflict ended,” (2) “[t]here was never a declaration of war or armed conflict with Iran,”

  and (3) the attacks were perpetrated by Hezbollah, the IRGC, and other terrorist groups, not

  “military forces.” R&R at 124-27. Finally, Judge Pollak also correctly held that “[t]o adopt Bank

  Saderat’s definition of armed military forces”—which can include terrorists laying explosive



  27
           Specifically, ATCA 2018 moots Bank Saderat’s (already incorrect) argument that “Judge Pollak also
  erroneously relied on the notion that a designated terrorist organization cannot be a ‘military force,’” because
  “[n]owhere in ATA’s text are “designated individuals and organizations categorically barred under” the act of war
  exemption. BS Objs. at 4 (arguing that doing so “would make no practical sense.”). ATCA 2018 also renders Bank
  Saderat’s cited case, Kaplan v. Cent. Bank of Islamic Republic of Iran, 961 F. Supp. 2d 185 (D.D.C. 2013), reversed
  in part 896 F.3d 501 (D.C. Cir. 2018), which was already limited to “the context of [that] case, and [that] particular
  conflict” (Israel’s 2006 war with Lebanon), completely irrelevant.


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  devices with the intent to coerce civilian populations and governments—“would effectively

  eliminate liability for anyone under the ATA . . . .” Id. at 127.

  Bank Saderat’s Second Objection: “No Personal Jurisdiction Over BSPLC Under
  ‘Conspiracy Jurisdiction’” BS Objs. at 6.

  Standard of Review: Clearly erroneous (see BS Mem. at 13-21, BS Reply Mem. at 9-12).
  Judge Pollak’s Finding: Plaintiffs plausibly alleged that Bank Saderat (1) transacted business in
  New York through an agent (N.Y.C.P.L.R. § 302(a)(1)) and, in the alternative, (2) Bank Saderat’s
  co-conspirators committed a tortious action within the state of New York (§ 302(a)(2)).
         As an initial matter, Bank Saderat does not substantively address Judge Pollak’s primary

  personal jurisdiction finding—that Bank Saderat’s use of Lloyds Bank’s correspondent account in

  New York to strip Iranian transactions means it transacted business in New York through an agent,

  R&R at 130. Bank Saderat repeats its irrelevant claim from prior briefs that it did not maintain a

  correspondent account in New York and that other Iranian banks were also listed in Lloyds Bank’s

  DPA. Compare BS. Objs. at 7-8 with BS Mem. at 14-15, n. 28, BS Reply Mem. at 9-10. As Judge

  Pollak found, Bank Saderat, in its role as part of the “hub” of the conspiracy, “transferred funds

  through defendants’ New York bank branches,” which “transactions were related to the provision

  of support to terrorist groups.” R&R at 131. Under Bank Saderat’s theory, because its interposed

  agents between itself and its exploitation of the New York-based dollar clearing system, it is

  immune from suits resulting from terrorism it facilitated through those agents.

         Bank Saderat’s substantive argument contests Judge Pollak’s conspiracy jurisdiction

  finding, which it erroneously argues was Judge Pollak’s sole ground for personal jurisdiction. BS

  Objs. at 6 (“To find a recommended basis for specific personal jurisdiction, Judge Pollak

  erroneously adopted and applied ‘conspiracy jurisdiction.’”). However, Bank Saderat now

  reverses its prior position—whereas it previously granted that “a person may be subject to

  jurisdiction under § 302(a)(2) if a co-conspirator carries out activity in New York connected to the


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  conspiracy,” BS Mem. at 19, it now argues that other courts in this District have not adopted it,

  and the Supreme Court purportedly rejected it in Walden v. Fiore, 571 U.S. 277 (2014). Bank

  Saderat also repeats its argument that Plaintiffs’ conspiracy allegations are insufficient.

           Judge Pollak addressed the sufficiency of Plaintiffs’ conspiracy allegations throughout her

  135-page R&R—these findings, particularly as to Bank Saderat, which was allegedly in the “hub”

  of the conspiracy—are not clearly erroneous. Bank Saderat’s legal arguments likewise fail. It relies

  upon Walden, which was not a conspiracy jurisdiction case and instead criticized jurisdiction

  premised on a defendant’s “relationship with a plaintiff or third party, standing alone.” Id. at 286

  (emphasis added). Plaintiffs here do not rely on Bank Saderat’s “‘random, fortuitous, or attenuated

  contacts’ or on the ‘unilateral activity’ of a plaintiff,” id. (quoting Burger King Corp. v. Rudzewicz,

  471 U.S. 462, 475 (1985)), but instead upon its own “intentional conduct . . . that creates the

  necessary contacts with the forum,” id. Plaintiffs allege, citing inter alia, Bank Saderat’s

  designation as a Specially Designated Global Terrorist, that Bank Saderat was at the hub of a

  conspiracy with all of the other Defendants, which conspiracy was specifically directed at New

  York as the preeminent forum for dollar-clearing. 28

           Bank Saderat’s remaining cases fare no better. Tymoshenko recognized the availability of

  conspiracy jurisdiction under “New York’s long-arm statute under Rule 4(k)(1),” questioning only

  the availability of conspiracy jurisdiction under Rule 4(k)(2). Tymoshenko v. Firtash, No. 11-CV-

  2794 (KMW), 2013 WL 1234943, at *4 (S.D.N.Y. Mar. 27, 2013). In re Aluminum Warehousing

  Antitrust Litig. likewise distinguished conspiracy jurisdiction under New York’s long arm statute

  and Rule 4(k)(2). 90 F. Supp. 3d 219, 227 (S.D.N.Y. 2015). The Tymoshenko court noted that


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            Unlike the limited allegations in Bank Saderat’s remaining case, In re Dental Supplies Antitrust Litig., No.
  16-cv-696(BMC)(GRB), 2017 WL 4217115, at *7 (E.D.N.Y. Sept. 20, 2017), the operation of the conspiracy at issue
  here is premised on purposefully availment of the dollar clearing system and accompanying laws in New York.


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  courts addressing “conspiracy jurisdiction ha[ve] centered on the defendant's awareness of the

  commission of [co-conspirator's] acts pursuant to a conspiracy committed within the forum state.”

  Id. at *4 n.3 (citation omitted). The Tymoshenko plaintiffs could not allege that the

  “conspiracy took place in the United States or that [defendant] was aware of any overt acts

  committed in furtherance of the conspiracy in the United States.” Id. No Defendant here has

  seriously contested Plaintiffs’ allegations as to the conspiracy’s New York nexus. 29 Because Judge

  Pollak found conspiracy jurisdiction under New York’s CPLR 302(a)(2) and Rule 4(k)(1), and not

  a nationwide tort under Rule 4(k)(2), the cases are inapposite.

                                                   CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that the Court adopt Judge

  Pollak’s R&R in its entirety.

  Dated: October 5, 2018
         Hackensack, NJ                                            Respectfully submitted,

                                                                   OSEN LLC

                                                         By:       /s/ Gary M. Osen
                                                                   Gary M. Osen
                                                                   Ari Ungar
                                                                   Peter Raven-Hansen, Of Counsel
                                                                   Michael J. Radine
                                                                   William A. Friedman
                                                                   Dina Gielchinsky
                                                                   2 University Plaza, Suite 402
                                                                   Hackensack, NJ 07601
                                                                   (201) 265-6400
                                                                   (201) 265-0303 Fax


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             Bank Saderat tacks on two cursory arguments at the end of its brief. For the first time, it argues that “as to
  CPLR § 301(a)(2), personal jurisdiction has been traditionally predicated on physical presence in New York, which
  is absent here.” Id. at 8 (citing DirectTV Latin Am. v. Park, 691 F. Supp.2d 405,418 (S.D.N.Y. 2010)). As DirectTV
  states, § 301(a)(2) includes “a non-domiciliary who in person or through an agent ‘commits a tortious act’ within New
  York.” DirecTV, 691 F. Supp. 2d at 418 (quoting § 302(a)(2)) (emphasis added). Finally, Bank Saderat repeats its
  prior argument that conspiracy jurisdiction is unavailable because the “ATA does not provide for conspiracy-based
  liability,” BS Objs. at 9, BS Mem. at 18; the argument, absurd before, is even more so now that § 2333(d) has been
  added to the ATA.

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                                             TURNER & ASSOCIATES, P.A.
                                             C. Tab Turner
                                             4705 Somers Avenue, Suite 100
                                             North Little Rock, AR 72116
                                             (501) 791-2277

                                             Attorneys for Plaintiffs




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